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                     EXHIBIT 2
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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION


      Root, Inc., et al.,                           :       Case No. 2:23-cv-512

                        Plaint ifs,                         Judge Sarah D. Morrison

              v.                                            Magistrate Judge Chelsey M. Vascura

      Silver, el al.,

                        Defendants.

                                  DECLARATION OF LAUREN LANSKIE

             I, Lauren Lanskie, hereby declare as follows on the basis of my personal knowledge:

             1.         I am over eighteen years of age and competent to testify about the matters

     contained herein.

             2.         1 was employed by Defendant Collateral Damage LLC ("Collateral Damage")

     from November 25, 2019, until February 16, 2020.

             3.         Defendant Brinson Caleb Silver ("Silver") hired me in November 2019 to work

     for him as his Executive Assistant in connection with various companies including Collateral

     Damage and a company called Grind Banking, Inc. ("Grind Banking"). At that time. Collateral

     Damage claimed to be a start-up marketing agency. As an Executive Assistant, my job was to

     set up payroll and medical insurance for the employees. I also performed other human resources

     and office tasks.

             4.         I was never promoted during my employment at Collateral Damage and at all

     times held the title of Executive Assistant. I never had an ownership interest in Collateral

     Damage.



                                                        1
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               5.    During my employment, 1 was provided a Collateral Damage email address -

     laurenidsollateraldamage.agency. To the best of my knowledge, Silver knew my password and

     he could access my Collateral Damage email account.

               6.    During my employment, Collateral Damage employed approximately five other

     people.

               7.    During my employment, Collateral Damage operated out of a shared office space

     in Pasadena, California (the "Pasadena Office"). To my knowledge, the Pasadena Office was the

     only business location for Collateral Damage.

               8.    Silver ran other start-up companies out of the Pasadena Office. One such

     company was Grind Banking, which claimed to be a banking start up geared towards serving

     underprivileged populations. While I was formally employed by Collateral Damage. I also did

     some work for Grind Banking.

     9. During my employment, I believe that Silver and Collateral Damage failed to pay their

        employees fully or on time. My first paycheck was late and other employees began leaving

        Collateral Damage shortly after I arrived because 1 believe they were not paid for their work.

               10.   During my employment, to the best of my knowledge, Collateral Damage was not

     paid for any marketing work.

     11. After Silver and Collateral Damage failed to pay my compensation, I submitted my letter of

         resignation to Silver on February 16, 2020, a true and accurate copy of which is attached

         hereto as Exhibit A. I downloaded this form resignation letter from the internet and added a

         personal note.

               12.   After my employment with Collateral Damage ended on February 16, 2020, I did

      not perform any more work for Collateral Damage. I did not send any emails on behalf of



                                                     2
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     Collateral Damage after February 16, 2020. I did not sign any invoices, contracts, or any other

     documents on behalf of Collateral Damage after February 16, 2020.

            13.      In the summer of 2020 (and after I left the employ of Collateral Damage), I

     attempted to contact Silver via text message about my outstanding paychecks but he did not

     answer. I have not had any further contact with Silver since the summer of 2020.

            14.      On March 17, 2020, I filed a claim with the California Department of Industrial

     Relations Labor Commissioner's Office against Silver and Collateral Damage for non-payment

     of $8,648.01 plus interest and penalties ("Labor Commission Claim"). Neither Silver nor a

     representative for any of his companies defended themselves or appeared for hearings and

     conferences. The Department awarded me $25,466.89 against Collateral Damage, Silver, and

     Silver's other companies—MVMT Finance LLC, Grind Banking. and Eclipse Vision LLC (the

     "Judgment"). Silver has evaded the Judgment and I have not collected the $25,466.89. A true

     and accurate copy of my personal file related to my Labor Commission Claim is attached hereto

     as Exhibit B.

            15.      1 have reviewed the emails sent from and received by my former Collateral

     Damage email address attached hereto as Exhibits C, D, E, F, G, H, 1, and J (the "Emails").

            a. I did not send or receive the Emails.

            b. I am not familiar with the substance of the Emails.

            c. I had not seen the Emails prior to the filing of the above-captioned lawsuit.

            d. I am not familiar with the following entities or persons referred to in the

                  Emails—Quantasy & Associates LLC; William Campbell; Root, Inc.; Paige

                  McDaniel; Eli; and Cyntoria.




                                                       3
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            e. Contrary to substance of the Emails, I never held the title of "Accounts Payable" at

               Collateral Damage.

     16. I have reviewed contracts sent from my former Collateral Damage email address attached to

        Exhibit J (the "Contracts").

            a. I did not draft the Contracts.

            b. I did not sign the Contracts.

            c. I am not familiar with the substance of the Contracts.

            d. I had not seen the Contracts prior to the filing of the above-captioned lawsuit.

            e. I did not authorize Silver or anyone else at Collateral Damage to send or sign

               documents on my behalf.

            f. Contrary to the substance of the Contracts, I was never a principal or owner of

               Collateral Damage.

     17. 1 have reviewed invoices sent from my former Collateral Damage email address attached to

        Exhibits C, D, E, G, and H (the "Invoices").

            a. I did not send the Invoices.

            b. I am not familiar with the substance of the Invoices.

            c. I had not seen the Invoices prior to the filing of the above-captioned lawsuit.

            d. I did not authorize Silver or anyone else at Collateral Damage to send or sign the

                Invoices on my behalf.

     18. To the best of my knowledge, the only person who has access to my former Collateral

         Damage email account is Silver.

     1 declare under penalty of perjury under the laws of the United States of America that the

     foregoing is true and correct. Executed this         day of February 2023 in LOS Andes,



                                                     4
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     California.



                                            V auawovs c):1Y143)-
                                                ren Lanskie
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           LANSKIE
         DECLARATION
                  EXHIBIT A
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                                                                                                   February 16, 2020



Brinson Sitver
CEO
Collateral Damage, LLC.
45 S Arroyo Pkwy
Pasadena,CA 91105



Dear Brinson,

Please accept this letter as notice of my resignation from my position as Executive Assistant at Collateral Damage, LLC My
last day of employment will be February 21st. 2020.

After much thought, I have decided it would be best for me to move on. The constant delay of pay has caused both financial
and personal stresshitrain. It is in my best interest to prevent that current total from growing. On my final day (2121/2020) the
gross amount that I'm owed is $6.924.00.

Thank you for giving me this opportunity to work with a great group of people and learn things that I would have never been
able to learn elsewhere. Wish you and the team nothing but the best, look forward to seeing where the world takes the
company.
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           LANSKIE
         DECLARATION
                  EXHIBIT B
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  STATE OF CALIFORNIA
  Department of Industrial Relations
  Labor Commissioner's Office                                                          s pl. OF
  6150 Van Nuys Blvd, Room 206                                                                          4'
                                                                                    t         ,4 —
  Van Nuys, CA 91401                                                            cc-41            -4-N
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                                                                                                '44.-1- qe... rn
  Email: laborcomrn.wca.vno@dir.ca.gov                                       W
                                                                             x             't tir ..,-(et alb
  Fax: (818) 901-5307                                                                     4-- 1»t"*" *    71 °
                                                                             1-•
                                                                                                •   ..0;.
  PLAINTIFF:                                                                               .                ."

       Lauren Lanskie                                                                 -z14/ •,,, , ift"'
       8472 GARIBALDI AVE                                                                   Lipos '
       SAN GABRIEL, CA 91775


  DEFENDANT:
      Collateral Damage LLC, a California Limited Liability Corporation
      6311 SUMMERTIME LN
      CULVER CITY, CA 90230

  State Case Number
  WC-CM-782464                           NOTICE OF CLAIM AND CONFERENCE

 ALL PARTIES in the above matter ARE TO APPEAR for a conference to be held in the
 Office of the State Labor Commissioner as follows:

 TELEPHONIC CONFERENCE — SEE ADDENDUM FOR INSTRUCTIONS


 DATE:          Monday, September 14, 2020
 TIME:          10:30 AM
 The purpose of this conference is to discuss the validity and to settle the claim filed with this
 Division by the Plaintiff shown above alleging non-payment of:

                                                                      Amount             Less
                                                                                                                 Balance
                               CLAIM                                  Earned or        Amount
                                                                                                                  Due
                                                                      Accrued            Paid
  REGULAR WAGES -- From 11/25/2019 through 02/22/2020,                $14,999.98        $6,351.97                $8,648.01
  plaintiff claims wages earned at the rate of $28.85 per hour, for
  519.93 regular hours worked.
  LIQUIDATED DAMAGES: Failure to Pay Minimum Wages -- At               $4,271.58                                 $4,271.58
  least minimum wage must be paid for all hours worked, including
  any overtime hours worked. An employee is entitled to recover
  liquidated damages in an amount equal to minimum wages earned
  but not paid as required by law. (See Labor Code Section 1194.2)
  From 11/25/2019 through 02/21/2020, plaintiff claims liquidated
  damages, as follows:
  Minimum wages earned at $14.25 per hour, for a total of 299.76
  hour(s) where at least minimum wage was not paid. Less a total of
  $0.00 paid. Liquidated damages equal the balance due.
  WAITING TIME PENALTIES — If an employer willfully fails to           $6,924.00                                 $6,924.00
  pay, in accordance with Labor Code Section 202, any wages of an
  employee who quits, the wages of the employee continue as a


 WCA 14 PLT Notice of Claim & Conference (Rev. 10/19)
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 Under Labor Code Section 558.1, any employer or other person acting on behalf of an employer
 who violates, or causes to be violated, any provision regulating minimum wages or hours and
 days of work in any order of the Industrial Welfare Commission, or violates, or causes to be
 violated, Labor Code Sections 203, 226, 226.7, 1193.6, 1194, or 2802, may be held liable as the
 employer for such violation. For purposes of Labor Code Section 558.1, the term "other person
 acting on behalf of an employer" is limited to a natural person who is an owner, director, officer,
 or managing agent of the employer.

 Under Labor Code section 2810.3, a labor contractor(s) and the business entity (a "Clint
 Employer") that was provided with workers by the contractor(s) to perform labor within the
 Client Employer's usual course of business may be held jointly and severally liable for any
 wages, damages, and penalties found due to the workers who performed the labor. A contract for
 the provision of labor between the contractor(s) and the Client Employer is not required for
 liability to attach under the law.

  Under Labor Code Section 238.5(a)(1) "Any individual or business entity, regardless of its
 form, that, as a part of its business, contracts for services in the property services or long-term
 care industries shall be jointly and severally liable for any unpaid wages, including interest,... to
 the extent the amounts are for services performed under that contract." "Property services"
 industry includes: "janitorial, security guard, valet parking, landscaping, and gardening
 services." § 238.5(e)(1).

 While this claim is before the Labor Commissioner, you are required under Labor Code
 Section 98(a) to notify the Labor Commissioner in writing of any change in your business
 or personal address within 10 days after any change occurs.


 NOTICE DATE: August 18, 2020

 Marilyn Garrido
 Deputy Labor Commissioner
 (818) 901-5308




 WCA 14 PLT Notice of Claim & Conference (Rev. 10/19)                                         Page 3 of 3
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                     Have questions? Contact us by e-mail
In an effort to better communicate case status information, you can now ask questions regarding any open or
closed wage claim in the Van Nuys district office by sending an email to
LaborComm.WCA.VNO@dir.ca.gov.
This email is currently for:

    •    Open or closed wage claims that are handled by the Van Nuys district office;
    •    Examples of types of questions that can be addressed by e-mail:
            o What is the status of my claim?
            o What is the next step in my claim?
            o I have information you need to know about this claim;
            o When is my conference?
            o When will I get a hearing?
            o is there anything I need to do before I get a hearing?
            o what is the status of my request for a continuance (ail requests for a continuance need to be in
                 writing and should be supported by evidence)?
             o When will I get a decision from my hearing?
             o Did the defendant pay or appeal the decision on my claim?
             o Can I appear by telephone?
             o What is the status of collecting on my judgment?
             o Any other question you may have regarding an open or closed wage claim that is handled by the
                 Van Nuys district office.



                      aTiene preguntas?
         Comuniquese con nosotros por correo electronico
En un esfuerzo para mejorar la comunicacion de cada caso, usted puede hacer preguntas sobre un caso referido a
sueldos abierto o cerrado en la oficina del distrito de Van Nuys mandando un correo electronico a
LaborComm.WCA.VN0@dir.ca.gov.

Este correo electronico se utiliza actualmente:

          Este correo electronico se refiere a reclamos de sueldo que han sido manejados por la oficina del distrito
          de Van Nuys;
     •    Ejemplo de tipo de preguntas que se puede hacer por correo electronico:
               o aCual es el estado de mi reclamo?
               o aCual es el proximo paso de mi reclamo?
               o Yo tengo informacidn que usted necesita saber sobre mi reclamo;
               o aCuando es mi conferencia?
               o aCuando es mi audiencia?
               o aHay algo que yo necesito hacer antes de la audiencia?
               o Cual es el estado de mi pedido para una suspension (todos los pedidos para una suspension
                    deben ser por escrito y apoyados por evidencia)
               o aCuando tendre una resoluciOn de mi audiencia?
               •     El defendido oaeo o apelo la decisiOn de mi reclamo?
               o     Puedo apelar por telefono?
               o aCual es el estado de recoleccion de mi juicio?
               o Cualquier otra pregunta que usted pueda tener referida a un reclamo abierto o cerrado que es
                    manejado por la oficina del distrito de Van Nuys.
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  STATE OF CALIFORNIA                                                              Gavin Newsom. Governor
  DEPARTMENT OF INDUSTRIAL RELATIONS
  Labor Commissioner's Office
  6150 Van Nuys Blvd, Room 206
  Van Nuys, CA 91401
  Email: laborcomm.wca.vno@dir.ca.gov • Fax: (818) 901-5307 • www.dir.ca.gov


                                              ADDENDUM
                                       TELEPHONIC CONFERENCE
                                            INSTRUCTIONS


  Dear Sir/Madam:

  In order to minimize potential risks during the ongoing COVID-19 pandemic, the Labor
  Commissioner will conduct a conference in the above-captioned matter via telephone.

  If you failed to provide a phone number, your phone number has changed or you need to be
  called at another number, contact us immediately in writing at:
  mgarridoAdir.ca.gov, or by fax or mail indicated on the letterhead. Please include your claim
  number and any other specific contact details and/or other relevant information as requested on
  the notice of conference.

   Plaintiff: If you fail to provide updated contact information, we will contact you at the phone
  number indicated on the original claim form. Please verify your records to assure we have the
  correct number. Failure to respond may result in closure of your case due to lack of prosecution.

   Defendant: You are obligated to provide the Labor Commissioner with your most current
   contact information. Please update our records and provide this information, including a valid
   contact phone number so that we may contact you during the scheduled time indicated on the
   conference notice. Please submit any documentation as requested on the notice in advance of
   this meeting.

   All Parties: You must be available at that number for up to one hour after the time of the
   conference. The deputy may contact the parties jointly and/or separately.

   If the deputy deems it appropriate, they will contact the parties in advance to provide alternative
   dial-in options to facilitate this meeting.

   If you fail to receive a call and/or are having technical difficulties, please contact the deputy at
   their office line immediately. If possible, please email us a note immediately indicating any
   technical issues.

  Sincerely,

   Labor Commissioner's Office — Van Nuys Wage Claim Adjudication




   ADDENDUM TO NOTICE OF CONFERENCE. TELEPHONIC CONFERENCE INSTRUCTIONS
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 14 of 84 PAGEID #: 333
 Date (Fecha):                               Case Number (No. de Caso):


                            APPEARING FOR A CONFERENCE/HEARING
                         APARIENCIA PARA UNA CONFERENCIA/ AUDIENCIA
                         Hold on to this form and GIVE it to the deputy when called.
               Favor de retener esta forma y ENTREGUESELA al diputado cuando sea Ilamado.

 Your Full Name:
 (Su Nombre)
 Your Title:
 (Su Titulo)
 Your Address:
 (Su Domicilio)
 Email Address:
 (Correo Electronico)

 Mailing Address:
 (if Different than above)
 (Su Direccion si es diferente)

 Your Telephone Number:
 (No. de Telefono)
 Work or Message Number:        (       )
 (No. de Telefono de Trabajo o Mensaje)

                                     In What Capacity Are You Appearing?
                                         (En Que Capacidad Se Presenta)

         Plaintiff:                                                   Defendant:
         (Demandante)                                                 (Demandado)
         Plaintiff's Attorney:                                       Defendant's Attorney/Rep:
         (Abogado del Demandante)                                     (Abogado del Demandado)
         Plaintiff's Witness:                                         Defendant's Witness:
         (Testigo del Demandante)                                     (Testigo del Demandado)
         Observer:                                                    Appellant:
         (Observador)                                                 (Apelante)
         Other:
         (Otro)
                                                        LI           Appellant's Attorney/Rep:
                                                                      (Abogado del Apelante)
         BOFE                                                         Appellant's Witness:
                                                                     (Testigo del Apelante)


                                  PLEASE ATTACH BUSINESS CARD, IF AVAILABLE


                                     INTERPRETER INFORMATION
 LANGUAGE

 Name:                                             Agency:

 Start Time:                                       End Time:

 Interpreter Initials:                             Staff Initials:
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 15 of 84 PAGEID #: 334
                                                                            Amount       Less
                                                                                                 Balance
                                CLAIM                                      Earned or    Amount
                                                                                                  Due
                                                                            Accrued      Paid
  penalty from their due date at the same rate until paid, up to a
  maximum of 30 days. (See Labor Code Section 203)
  Plaintiff provided at least 72 hours' notice of quitting, effective
  02/16/2020, on which date wages were due. Plaintiff claims
  waiting time penalties for 30 days' worth of wages, based on a rate
  of pay of $230.80 per day. Daily rate of pay is calculated as
  follows: $28.85 per hour x 8 hours per day.
  LATE PAYROLL: Penalty — Failure by an employer to pay the                 $2,362.00             $2,362.00
  wages of each employee as provided in Sections 201.3, 204,
  204(b), 204.1, 204.2, 204.11, 205.5 and 1197.5, entitles the
  employee to a penalty of one hundred dollars ($100) for any initial
  violation. Two hundred dollars ($200) for each subsequent
  violation, or any willful or intentional violation, plus 25 percent of
  the amount unlawfully withheld.

  Plaintiff was not paid timely during the period from 11/25/2020 to
  02/21/2020 and claims 1 as a willful or intentional violation, at
  $200 each plus 25 percent of 8648.01 payroll totaling for a total of
  [(1) X 200.00 + .25 X 8648.01]
  TOTAL CLAIMED                                                                                  $22,205.59

 A document detailing the amount(s) due may be attached. Claim amounts may be approximate
 and subject to modifications as the claim proceeds. In addition, the employer may be subject to
 penalties due to the State of California, which may be assessed pursuant to Labor Code Section
 210, 225.5 and 226.8.

 This notice constitutes demand on behalf of the Plaintiff that all wages due be mailed
 immediately to the Labor Commissioner at the address listed above. Prior to the conference,
 Defendant may submit to this office a written reply regarding this claim. However, the parties
 should still attend the conference, unless otherwise notified. If Defendant wants to resolve this
 claim without the need to appear at conference, Defendant may do so by immediately
 mailing to this office a check or money order made payable to the Plaintiff for the full amount of
 this claim, including penalties and any liquidated damages. If Defendant concedes that part of
 the claim is valid the conceded amount must be paid immediately as required by Labor Code
 Section 206. Any disputed amount will be discussed at the scheduled conference. No payroll
 deductions shall be taken from amounts paid as penalties.

 PLAINTIFF: Please bring any relevant documents to support your claim, which might include
 payroll records, time records, W-2s, including any other information that could be used in order
 to identify the correct legal entity for defendant(s).

        WITNESSES & OBSERVERS MAY NOT PERMITTED AT CONFERENCES

 If this claim is not settled, it may be resolved through a hearing as provided by Section 98
 of the Labor Code which includes the accrual of interest pursuant to Labor Code Section
 98.1(c), 1194.2 and/or 2802(b).

 With respect to the claims above, the basis for liability may be determined on various grounds,
 including but not limited to liability pursuant to Labor Code sections 2810.3 and/or 238.5, and/or
 individual liability pursuant to Labor Code section 558.1.


 WCA 14 PLT Notice of Claim & Conference (Rev. 10/19)                                              Page 2 of 3
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 Lauren Lanskie
 8472 GARIBALDI AVE
 SAN GABRIEL, CA 91775




 STATE CASE NUMBER: WC-CM-782464
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 17 of 84 PAGEID #: 336
                                           State of California
                                    Department of Industrial Relations
                             DIVISION OF LABOR STANDARDS ENFORCEMENT

                                    CERTIFICATION OF SERVICE BY MAIL
                                     (C.C.P. 1013A) OR CERTIFIED MAIL

I, Georgia Jemmott, do hereby certify that I am a resident of or employed in the County of Los
Angeles, over 18 years of age, not a party to the within action, and that I am employed at and my
business address is:

                              LABOR COMMISSIONER, STATE OF CALIFORNIA
                                        6150 Van Nuys Blvd Room 206
                                             Van Nuys, CA 91401
                                 Tel: (818) 901-5315 Fax: (415) 329-1659

I am readily familiar with the business practice of my place of business for collection and processing
of correspondence for mailing with the United States Postal Service. Correspondence so collected and
processed is deposited with the United States Postal Service that same day in the ordinary course of
business.

On August 12, 2022, at my place of business, a copy of the following document(s):

                                              Order, Decision or Award

was(were) placed for deposit in the United States Postal Service in a sealed envelope, by First Class
with postage fully prepaid, addressed to:

NOTICE TO:

Lauren Lanskie,

                                                                           Service Address
 Collateral Damage LLC, a California Limited Liability               6311 SUMMERTIME LN
                   Corporation                                       CULVER CITY, CA 90230

                                                                   10736 JEFFERSON BLVD # 632
             Brinson Silver, an Individual
                                                                   CULVER CITY, CA 90230-4933

 LEGALZOOM.COM, INC., Agent for Service on behalf
                                                                     101 N BRAND BLVD FL 11
    of Collateral Damage LLC, a California Limited
                                                                    GLENDALE, CA 91203-2638
                  Liability Corporation

                                                                         45 S. ARROYO PKWY
   MVMT FINANCE LLC, a Limited Liability Company
                                                                         PASADENA, CA 91105

                                                                          ATTN: Joyce Yi
 LEGALZOOM.COM, INC., Agent for Service on behalf
                                                                     101 N BRAND BLVD FL 11
  of MVMT FINANCE LLC, a Limited Liability Company
                                                                    GLENDALE, CA 91203-2638

                                                                          8 THE GREEN STE B
     GRIND BANKING, INC., a Foreign Corporation
                                                                           DOVER, DE 19901

WCA 66 (Rev. 3/06) Certification of Mailing                                                   Page 1 of 2
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 18 of 84 PAGEID #: 337

                                                                     Service Address

  Brinson Silver, an Individual Agent for Service on
                                                             6111 S. GRAMERCY PLACE STE 4
      behalf of GRIND BANKING, INC., a Foreign
                                                                LOS ANGELES, CA 90047
                      Corporation

                                                                  30 N. GOULD ST STE R
  ECLIPSE VISION LLC, a Limited Liability Company
                                                                  SHERIDAN, WY 82801

                                                                     ATTN: Joyce Yi
LEGALZOOM.COM, INC., Agent for Service on behalf
                                                                101 N BRAND BLVD FL 11
 of ECLIPSE VISION LLC, a Limited Liability Company
                                                                GLENDALE, CA 91203-2638

                                                              Additional Service Address(es)

                                                                   45 S ARROYO PLWY
             Brinson Silver, an Individual
                                                                  PASADENA, CA 91105


and that envelope was placed for collection and mailing on that date following ordinary business
practices.

                I certify under penalty of perjury that the foregoing is true and correct.

Executed on August 12, 2022, at Van Nuys, California.

STATE CASE NUMBER: WC-CM-782464                                              /s/ Georg




WCA 66 (Rev. 3/06) Certification of Mailing                                                  Page 2 of 2
  Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 19 of 84 PAGEID #: 338
STATE OF CALIFORNIA                                                       For Court Use Only:
Department of Industrial Relations
Labor Commissioner's Office
6150 Van Nuys Blvd, Room 206
Van Nuys, CA 91401
EMAIL: Iaborcomm.wca.vno@dir.ca.gov
FAX: (415) 329-1659
Plaintiff:                                                         Court Number:
Lauren Lanskie,
Defendant:
Collateral Damage LLC, a California Limited Liability Corporation
Case No.: WC-CM-782464                        ORDER, DECISION OR AWARD OF THE LABOR COMMISSIONER
1. The above-entitled matter came on for hearing before the Labor Commissioner of the State of California as follows:
  DATE: 8/2/2022 8:30 AM                   CITY: 6150 Van Nuys Blvd, Room 206, Van Nuys, CA 91401
2. IT IS ORDERED THAT: Plaintiff recover from Defendant:

                                              Balance Due to Employee(s)       Interest Balance Due      Line Total
 REGULAR WAGES                                                 $8,648.01                   $2,130.02        $10,778.03
 LIQUIDATED DAMAGES                                            $3,971.82                     $978.26          $4,950.08
 WAITING TIME PENALTIES                                        $6,924.00                       $0.00          $6,924.00
 PENALTIES PURSUANT TO LC 210                                  $2,814.78                       $0.00          $2,814.78
 Totals                                                       $22,358.61                   $3,108.28        $25,466.89

3. The herein Order, Decision or Award is based upon the Findings of Fact, Legal Analysis and Conclusions attached
  hereto and incorporated herein by reference.
4. The parties herein are notified and advised that this Order, Decision or Award of the Labor Commissioner shall
   become final and enforceable as a judgment in a court of law unless either or both parties exercise their right to
  appeal to the appropriate court* within ten (10) days of service of this document. Service of this document can be
  accomplished either by first class mail or by personal delivery and is effective upon mailing or at the time of personal
   delivery. If service on the parties is made by mail, the ten (10) day appeal period shall be extended by five (5) days.
  For parties served outside of California, the period of extension is longer (See Code of Civil Procedure Section 1013).
  In case of appeal, the necessary filing fee must be paid by the appellant and appellant must, immediately upon filing
   an appeal with the appropriate court, serve a copy of the appeal request upon the Labor Commissioner. If an appeal
   is filed by a corporation, a non-lawyer agent of the corporation may file the Notice of Appeal with the appropriate
   court, but the corporation must be represented in any subsequent trial by an attorney, licensed to practice in the
   State of California. Labor Code Section 98.2(c) provides that if the party seeking review by filing an appeal to the
   court is unsuccessful in such appeal, the court shall determine the costs and reasonable attorney's fees incurred by
   the other party to the appeal and assess such amount as a cost upon the party filing the appeal. An employee is
   successful if the court awards an amount greater than zero. PLEASE TAKE NOTICE: Labor Code Section 98.2(b)
   requires that as a condition to filing an appeal of an Order, Decision or Award of the Labor Commissioner, the
   employer shall first post a bond or undertaking with the court in the amount of the ODA; and the employer shall
   provide written notice to the other parties and the Labor Commissioner of the posting of the undertaking. Labor
   Code Section 98.2(b) also requires the undertaking contain other specific conditions for distribution under the bond.
   While this claim is before the Labor Commissioner, you are required to notify the Labor Commissioner in writing of
   any changes in your business or personal address within 10 days after change occurs.

  Notice Date: August 3, 2022                         *California Superior Court, County of Los Angeles, Stanley Mosk
                                                       Courthouse
                                                      111 North Hill Street Room 102
                                                      Los Angeles, CA 90012

  By
        Marc Perel, Hearing Officer

WCA 75 - Order, Decision or Award of the Labor Commissioner (Rev. 9/15)
  Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 20 of 84 PAGEID #: 339
STATE OF CALIFORNIA                                                       For Court Use Only:
Department of Industrial Relations
Labor Commissioner's Office
6150 Van Nuys Blvd, Room 206                              .
Van Nuys, CA 91401
EMAIL: laborcomm.wca.vno@dir.ca.gov
FAX: (415) 329-1659
Plaintiff:                                            Court Number:
Lauren Lanskie,
Defendant:
Brinson Silver, an Individual
Case No.: WC-CM-782464        I  ORDER, DECISION OR AWARD OF THE LABOR COMMISSIONER
1. The above-entitled matter came on for hearing before the Labor Commissioner of the State of California as follows:
  DATE: 8/2/2022 8:30 AM                       CITY: 6150 Van Nuys Blvd, Room 206, Van Nuys, CA 91401
2. IT IS ORDERED THAT: Plaintiff recover from Defendant:

                                              Balance Due to Employee(s)       Interest Balance Due       Line Total
 REGULAR WAGES                                                 $8,648.01                   $2,130.02          $10,778.03
 LIQUIDATED DAMAGES                                            $3,971.82                     $978.26           $4,950.08
 WAITING TIME PENALTIES                                        $6,924.00                       $0.00           $6,924.00
 PENALTIES PURSUANT TO LC 210                                  $2,814.78                       $0.00           $2,814.78
 Totals                                                       $22,358.61                   $3,108.28          $25,466.89

3. The herein Order, Decision or Award is based upon the Findings of Fact, Legal Analysis and Conclusions attached
  hereto and incorporated herein by reference.
4. The parties herein are notified and advised that this Order, Decision or Award of the Labor Commissioner shall
   become final and enforceable as a judgment in a court of law unless either or both parties exercise their right to
  appeal to the appropriate court* within ten (10) days of service of this document. Service of this document can be
   accomplished either by first class mail or by personal delivery and is effective upon mailing or at the time of personal
   delivery. If service on the parties is made by mail, the ten (10) day appeal period shall be extended by five (5) days.
   For parties served outside of California, the period of extension is longer (See Code of Civil Procedure Section 1013).
   In case of appeal, the necessary filing fee must be paid by the appellant and appellant must, immediately upon filing
   an appeal with the appropriate court, serve a copy of the appeal request upon the Labor Commissioner. If an appeal
   is filed by a corporation, a non-lawyer agent of the corporation may file the Notice of Appeal with the appropriate
   court, but the corporation must be represented in any subsequent trial by an attorney, licensed to practice in the
   State of California. Labor Code Section 98.2(c) provides that if the party seeking review by filing an appeal to the
   court is unsuccessful in such appeal, the court shall determine the costs and reasonable attorney's fees incurred by
   the other party to the appeal and assess such amount as a cost upon the party filing the appeal. An employee is
   successful if the court awards an amount greater than zero. PLEASE TAKE NOTICE: Labor Code Section 98.2(b)
   requires that as a condition to filing an appeal of an Order, Decision or Award of the Labor Commissioner, the
   employer shall first post a bond or undertaking with the court in the amount of the ODA; and the employer shall
    provide written notice to the other parties and the Labor Commissioner of the posting of the undertaking. Labor
   Code Section 98.2(b) also requires the undertaking contain other specific conditions for distribution under the bond.
    While this claim is before the Labor Commissioner, you are required to notify the Labor Commissioner in writing of
    any changes in your business or personal address within 10 days after change occurs.

  Notice Date: August 3, 2022                         *California Superior Court, County of Los Angeles, Stanley Mosk
                                                       Courthouse
                                                      111 North Hill Street Room 102
                                                      Los Angeles, CA 90012

  By
        Marc Perel, Hearing Officer

WCA 75 - Order, Decision or Award of the Labor Commissioner (Rev. 9/15)
  Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 21 of 84 PAGEID #: 340
 STATE OF CALIFORNIA                                            For Court Use Only:
 Department of Industrial Relations
 Labor Commissioner's Office
 6150 Van Nuys Blvd, Room 206
 Van Nuys, CA 91401
 EMAIL: Iaborcomm.wca.vno@dir.ca.gov
 FAX: (415) 329-1659
 Plaintiff:                                                     Court Number:
 Lauren Lanskie,
 Defendant:
 MVMT FINANCE LLC, a Limited Liability Company
 Case No.: WC-CM-782464                    ORDER, DECISION OR AWARD OF THE LABOR COMMISSIONER
1. The above-entitled matter came on for hearing before the Labor Commissioner of the State of California as follows:
  DATE: 8/2/2022 8:30 AM                   CITY: 6150 Van Nuys Blvd, Room 206, Van Nuys, CA 91401
2. IT IS ORDERED THAT: Plaintiff recover from Defendant:

                                              Balance Due to Employee(s)     Interest Balance Due        Line Total
 REGULAR WAGES                                                 $8,648.01                 $2,130.02           $10,778.03
 LIQUIDATED DAMAGES                                            $3,971.82                   $978.26            $4,950.08
 WAITING TIME PENALTIES                                        $6,924.00                     $0.00            $6,924.00
 PENALTIES PURSUANT TO LC 210                                  $2,814.78                     $0.00            $2,814.78
 Totals                                                       $22,358.61                 $3,108.28           $25,466.89

3. The herein Order, Decision or Award is based upon the Findings of Fact, Legal Analysis and Conclusions attached
  hereto and incorporated herein by reference.
4. The parties herein are notified and advised that this Order, Decision or Award of the Labor Commissioner shall
   become final and enforceable as a judgment in a court of law unless either or both parties exercise their right to
  appeal to the appropriate court* within ten (10) days of service of this document. Service of this document can be
  accomplished either by first class mail or by personal delivery and is effective upon mailing or at the time of personal
   delivery. If service on the parties is made by mail, the ten (10) day appeal period shall be extended by five (5) days.
   For parties served outside of California, the period of extension is longer (See Code of Civil Procedure Section 1013).
   In case of appeal, the necessary filing fee must be paid by the appellant and appellant must, immediately upon filing
   an appeal with the appropriate court, serve a copy of the appeal request upon the Labor Commissioner. If an appeal
   is filed by a corporation, a non-lawyer agent of the corporation may file the Notice of Appeal with the appropriate
   court, but the corporation must be represented in any subsequent trial by an attorney, licensed to practice in the
   State of California. Labor Code Section 98.2(c) provides that if the party seeking review by filing an appeal to the
   court is unsuccessful in such appeal, the court shall determine the costs and reasonable attorney's fees incurred by
   the other party to the appeal and assess such amount as a cost upon the party filing the appeal. An employee is
   successful if the court awards an amount greater than zero. PLEASE TAKE NOTICE: Labor Code Section 98.2(b)
   requires that as a condition to filing an appeal of an Order, Decision or Award of the Labor Commissioner, the
   employer shall first post a bond or undertaking with the court in the amount of the ODA; and the employer shall
   provide written notice to the other parties and the Labor Commissioner of the posting of the undertaking. Labor
   Code Section 98.2(b) also requires the undertaking contain other specific conditions for distribution under the bond.
   While this claim is before the Labor Commissioner, you are required to notify the Labor Commissioner in writing of
   any changes in your business or personal address within 10 days after change occurs.

  Notice Date: August 3, 2022                         *California Superior Court, County of Los Angeles, Stanley Mosk
                                                       Courthouse
                                                      111North Hill Street Room 102
                                                      Los Angeles, CA 90012

  By
        Marc Perel, Hearing Officer

WCA 75 - Order, Decision or Award of the Labor Commissioner (Rev. 9/15)
  Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 22 of 84 PAGEID #: 341
STATE OF CALIFORNIA                                             For Court Use Only:
Department of Industrial Relations
Labor Commissioner's Office
6150 Van Nuys Blvd, Room 206
Van Nuys, CA 91401
EMAIL: Iaborcomm.wca.vno@dir.ca.gov
FAX: (415) 329-1659
Plaintiff:                                                      Court Number:
Lauren Lanskie,
Defendant:
GRIND BANKING, INC., a Foreign Corporation
Case No.: WC-CM-782464             I       ORDER, DECISION OR AWARD OF THE LABOR COMMISSIONER
1. The above-entitled matter came on for hearing before the Labor Commissioner of the State of California as follows:
  DATE: 8/2/2022 8:30 AM                   CITY: 6150 Van Nuys Blvd, Room 206, Van Nuys, CA 91401
2. IT IS ORDERED THAT: Plaintiff recover from Defendant:

                                              Balance Due to Employee(s)     Interest Balance Due          Line Total
 REGULAR WAGES                                                 $8,648.01                 $2,130.02             $10,778.03
 LIQUIDATED DAMAGES                                            $3,971.82                   $978.26              $4,950.08
 WAITING TIME PENALTIES                                        $6,924.00                     $0.00              $6,924.00
 PENALTIES PURSUANT TO LC 210                                  $2,814.78                     $0.00              $2,814.78
 Totals                                                       $22,358.61                 $3,108.28            $25,466.89

.J. The herein Order, Decision sor Award is based upon the Findings of Fact, Legai Ana!ysis and. C.oriciusions attached
   hereto and incorporated herein by reference.
4. The parties herein are notified and advised that this Order, Decision or Award of the Labor Commissioner shall
  become final and enforceable as a judgment in a court of law unless either or both parties exercise their right to
  appeal to the appropriate court* within ten (10) days of service of this document. Service of this document can be
  accomplished either by first class mail or by personal delivery and is effective upon mailing or at the time of personal
   delivery. If service on the parties is made by mail, the ten (10) day appeal period shall be extended by five (5) days.
  For parties served outside of California, the period of extension is longer (See Code of Civil Procedure Section 1013).
  In case of appeal, the necessary filing fee must be paid by the appellant and appellant must, immediately upon filing
   an appeal with the appropriate court, serve a copy of the appeal request upon the Labor Commissioner. If an appeal
   is filed by a corporation, a non-lawyer agent of the corporation may file the Notice of Appeal with the appropriate
   court, but the corporation must be represented in any subsequent trial by an attorney, licensed to practice in the
   State of California. Labor Code Section 98.2(c) provides that if the party seeking review by filing an appeal to the
   court is unsuccessful in such appeal, the court shall determine the costs and reasonable attorney's fees incurred by
   the other party to the appeal and assess such amount as a cost upon the party filing the appeal. An employee is
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   requires that as a condition to filing an appeal of an Order, Decision or Award of the Labor Commissioner, the
   employer shall first post a bond or undertaking with the court in the amount of the ODA; and the employer shall
   provide written notice to the other parties and the Labor Commissioner of the posting of the undertaking. Labor
   Code Section 98.2(b) also requires the undertaking contain other specific conditions for distribution under the bond.
    While this claim is before the Labor Commissioner, you are required to notify the Labor Commissioner in writing of
   any changes in your business or personal address within 10 days after change occurs.

  Notice Date: August 3, 2022                         *California Superior Court, County of Los Angeles, Stanley Mosk
                                                       Courthouse
                                                      111 North Hill Street Room 102
                                                      Los Ange1es rn anni

  By
        Marc Perel, Hearing Officer

WCA 75 - Order, Decision or Award of the Labor Commissioner (Rev. 9/15)
  Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 23 of 84 PAGEID #: 342
STATE OF CALIFORNIA                                                       For Court Use Only:
Department of Industrial Relations
Labor Commissioner's Office
6150 Van Nuys Blvd, Room 206
Van Nuys, CA 91401
 EMAIL: laborcomm.wca.vno@dir.ca.gov
 FAX: (415) 329-1659
 Plaintiff:                                                        Court Number:
 Lauren Lanskie,
 Defendant:
 ECLIPSE VISION LLC, a Limited Liability Company
 Case No.: WC-CM-782464               I       ORDER, DECISION OR AWARD OF THE LABOR COMMISSIONER
1. The above-entitled matter came on for hearing before the Labor Commissioner of the State of California as follows:
  DATE: 8/2/2022 8:30 AM                       CITY: 6150 Van Nuys Blvd, Room 206, Van Nuys, CA 91401
2. IT IS ORDERED THAT: Plaintiff recover from Defendant:

                                              Balance Due to Employee(s)       Interest Balance Due      Line Total
 REGULAR WAGES                                                 $8,648.01                   $2,130.02         $10,778.03
 LIQUIDATED DAMAGES                                            $3,971.82                     $978.26          $4,950.08
 WAITING TIME PENALTIES                                        $6,924.00                       $0.00          $6,924.00
 PENALTIES PURSUANT TO LC 210                                  $2,814.78                       $0.00          $2,814.78
 Totals                                                       $22,358.61                   $3,108.28         $25,466.89

3. The herein Order, Decision or Award is based upon the Findings of Fact, Legal Analysis and Conclusions attached
   hereto and incorporated herein by reference.
4. The parties herein are notified and advised that this Order, Decision or Award of the Labor Commissioner shall
   become final and enforceable as a judgment in a court of law unless either or both parties exercise their right to
  appeal to the appropriate court* within ten (10) days of service of this document. Service of this document can be
  accomplished either by first class mail or by personal delivery and is effective upon mailing or at the time of personal
   delivery. If service on the parties is made by mail, the ten (10) day appeal period shall be extended by five (5) days.
  For parties served outside of California, the period of extension is longer (See Code of Civil Procedure Section 1013).
   In case of appeal, the necessary filing fee must be paid by the appellant and appellant must, immediately upon filing
   an appeal with the appropriate court, serve a copy of the appeal request upon the Labor Commissioner. If an appeal
   is filed by a corporation, a non-lawyer agent of the corporation may file the Notice of Appeal with the appropriate
   court, but the corporation must be represented in any subsequent trial by an attorney, licensed to practice in the
   State of California. Labor Code Section 98.2(c) provides that if the party seeking review by filing an appeal to the
   court is unsuccessful in such appeal, the court shall determine the costs and reasonable attorney's fees incurred by
   the other party to the appeal and assess such amount as a cost upon the party filing the appeal. An employee is
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   requires that as a condition to filing an appeal of an Order, Decision or Award of the Labor Commissioner, the
   employer shall first post a bond or undertaking with the court in the amount of the ODA; and the employer shall
   provide written notice to the other parties and the Labor Commissioner of the posting of the undertaking. Labor
   Code Section 98.2(b) also requires the undertaking contain other specific conditions for distribution under the bond.
   While this claim is before the Labor Commissioner, you are required to notify the Labor Commissioner in writing of
   any changes in your business or personal address within 10 days after change occurs.

  Notice Date: August 3, 2022                         *California Superior Court, County of Los Angeles, Stanley Mosk
                                                       Courthouse
                                                      111 North Hill Street Room 102
                                                      Los Angeles, CA 90012

  By
        Marc Perel, Hearing Officer

WCA 75 - Order, Decision or Award of the Labor Commissioner (Rev. 9/15)
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 24 of 84 PAGEID #: 343


                              BEFORE THE LABOR COMMISSIONER
1
                                  OF THE STATE OF CALIFORNIA
2
      LAUREN LANSKIE,
3
                                                CASE NO.      WC-CM-782464
                            Plaintiff,
 4
                                                ORDER, DECISION, OR AWARD
                    v.
 5                                              OF THE LABOR COMMISSIONER
      COLLATERAL DAMAGE LLC, a
 6    California limited liability
      corporation; BRINSON SILVER, an
 7    individual; MVMT FINANCE LLC, a
      limited liability company; GRIND
 8    BANKING, INC., a foreign
      corporation; ECLIPSE VISION LLC, a
 9    limited liability company
10
                            Defendant.
11                                       BACKGROUND
12
           Plaintiff filed an initial claim with the Labor Commissioner's office on March 17,
13
     2020. The complaint raises the following allegations:
14
           1. Wages earned, but unpaid, from November 25, 2019 through February 16, 2020,
15
               for 519.93 hours at $28.85 an hour; claiming $14,999.98 less $6,351.97 being
16
               $8,648.01;
17
           2. Liquidated damages pursuant to Labor Code Section 1194.2 equal to the amount
18
               in unpaid minimum wages;
19
           3. Interest pursuant to Labor Code sections 98.1, 1194.2, and/or 2802;
20
           4. Waiting time penalties pursuant to Labor Code section 203 for an indeterminate
21
               number of days not to exceed 30 days; and
22
           5. Late payroll penalties pursuant to Labor Code section 210(a) for one hundred
23
               dollars ($100) for any initial violation. Two hundred dollars ($200) for each
24
               subsequent violation, or any willful or intentional violation, plus 25 percent of
25
               the amount unlawfully withheld.
26

27

28

                                                Page 1
     ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 25 of 84 PAGEID #: 344



1          On August 2, 2022 a hearing was conducted remotely via the Labor Commissioner's

2    Office, before the undersigned hearing officer designated by the Labor Commissioner to
3    hear this matter. Plaintiff Lauren Lanskie appeared in pro per. Collateral Damage LLC, a
 4   California limited liability corporation, ("Collateral"), Brinson Silver, an individual
5    ("Silver"), MVMT Finance LLC, a limited liability company ("MVMT"), Grind Banking,
 6   Inc., a foreign corporation ("Grind"), Eclipse Vision LLC, a limited liability company
 7   ("Eclipse"), each failed to appear and did not submit an Answer to Plaintiff's complaint.
8          Due consideration having been given to the testimony, documentary evidence, and
 9   arguments presented, the Labor Commissioner hereby adopts the following Order,
10   Decision, or Award.
11                                      FINDINGS OF FACT

12
          Plaintiff was employed by Silver to perform personal administrative services for
13   Silver's financial tech company business with approximately 7 employees for the period
14
     November 24, 2019 through February 16, 2020 in the City of Pasadena, County of Los
15
     Angeles, California, under the terms of an oral agreement at the promised rate of $28.85 an
16
     hour paid on biweekly pay periods. Plaintiff quit with notice, effective February 16, 2020.
17
     Plaintiff worked an average of 8 hours per day; thus, her earnings were $230.80 per day (8
18
     hours x $28.85 per hour).
19
          Plaintiff testified that she was hired by Silver to perform administrative work for
20
     several companies which he owned and operated: Collateral, MVMT, Grind and Eclipse.
21
     Plaintiff testified that she was paid her wages through digital payment services Venmo and
22
     Zelle through Silver's personal account under Silver's name.
23
          Plaintiff testified that while she was paid some of her wages she was not paid for all
24
     her hours worked. Plaintiff testified that she had worked 519.93 hours at $28.85 per hour,
25
     earning a total of $14,999.98 less $6,351.97 with a balance claimed of $8,648.01.
26
          The May 17, 2019 California Secretary of State Statement of Information for Collateral,
27
     the most current Statement at the time of Plaintiff's employment with Silver, lists Silver as
28
     the sole manager of the company. The most current Statement of Information dated as May
                                                 Page 2
     ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 26 of 84 PAGEID #: 345



1    10, 2022 also lists Silver as the sole manager of Collateral. Collateral is listed as an active
2    LLC at the time of the hearing. However, the records of the California Secretary of State
3    show this entity was suspended from January 4, 2022 until it was revived on May 11, 2022.
 4        The California Secretary of State lists MVMT, Grind and Eclipse as suspended
 5   corporations at the time of the hearing.
 6        The case notes recorded with the Labor Commissioner's office on this matter show
 7   that Silver responded to a call from Deputy Labor Commissioner Marilyn Garrido on
 8   September 14, 2020 in which he provided his personal address at which he was served

 9   notice for the instant hearing. No representative for any Defendant appeared at hearing.
10                                        LEGAL ANALYSIS

11
          Plaintiff, as the party asserting the affirmative, has the burden of proof, including the
12
     initial burden of going forward and the burden of persuasion by a preponderance of the
13
     evidence. California Evidence Code Section 140 defines "evidence" as testimony, writings,
14
     material objects, or other things presented to the senses that are offered to prove or disprove
15
     a fact at issue.
16
          "Preponderance of the evidence" means the evidence that, when weighed with that
17
     opposed to it, has more convincing force and the greater probability of truth.
18
           Here, Plaintiff was credible as evidenced by her consistent, persuasive and forthright
19
     testimony at the hearing. In addition, Defendants failed to appear at the hearing and did not
20
     submit an answer; therefore there is no evidence before the undersigned hearing officer
21
     which disputes the Plaintiff's assertions.
22
23     1. Joint Employer

24         Because Plaintiff originally named multiple entities as joint employers, the issue of

25   joint employment must be addressed before determining the wages due to Plaintiff by one

26   or more of the entities. The California Supreme Court in Martinez v. Combs (2010) 49 Ca1.4th

27   35 held that "no generally applicable rule of law imposes on anyone other than an employer

28   a duty to pay wages." (Id. at 49, italics added.) Martinez set forth the definition of employer

                                                   Page 3
      ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 27 of 84 PAGEID #: 346



1    under the Industrial Welfare Commission Wage Orders as: "(a) to exercise control over the
 2   wages, hours, or working conditions or (b) to suffer or permit to work or (c) to engage,
3    thereby creating a common law employment relationship." (Id. at 64.) Where more than one
 4   entity falls within the definition of an "employer" under the applicable Wage Order with
 5   respect to the person performing work, the entities may be joint employers of the person. It
 6   is under this definition that the relationships between Plaintiff and the named Defendants
 7   must be analyzed.
8         In this matter, Plaintiff credibly and without dispute testified that she performed work
 9   for Collateral, MVMT, Grind and Eclipse at the same time, all of whom clearly exercised
10   control over Plaintiff's working conditions. Plaintiff was directed by Silver to perform work
11   for each of these locations throughout her employment from November 24, 2019 to February
12   16, 2020. Since Plaintiff clearly worked for all corporate Defendants at the same time,
13   Collateral, MVMT, Grind and Eclipse shall be considered Plaintiff's joint employers herein.
14
      2. Individual Defendant
15
          Plaintiff named Brinson Silver, an individual, in addition to the corporate Defendants.
16
     There is no dispute that Brinson Silver was the in-fact owner and manager of each of the
17
     corporate Defendants. The issue of whether the corporate veil can be pierced to hold
18
     individual corporate agents liable as alter egos of the corporation was determined in
19
     Reynolds v. Bement (2005) 36 Ca1.4th 1075, at 1089. In California, two conditions must be met
20
     before the alter ego doctrine will be invoked. First, there must be such a unity of interest and
21
     ownership that the separate personalities of the corporation and the shareholder do not in
22
     reality exist. Second, there must be an inequitable result if the acts in question are treated as
23
     those of the corporation alone.
24
          As to the first element above, Plaintiff presented credible and uncontested testimonial
25
     evidence to support the unity of interest and ownership such that the separate personalities
26
     of the corporate Defendants and Silver do not exist. Plaintiff was paid directly from the
27
     personal accounts of Silver and was directed to work between multiple different entities
28

                                                  Page 4
     ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 28 of 84 PAGEID #: 347


     with the only uniting factor being that they were owned and operated by Silver. The
1
     preponderance of the evidence clearly shows that Silver used these businesses such that
 2

3    there is no line between the corporations and the owner. Therefore, the first element above

 4   has been met.

 5         As to the second element above, the individual defendant has allowed three of these

 6   businesses, MVMT, Grind an Eclipse to become suspended to absolve himself of paying his

 7   employee - an inequitable situation which he created. While Collateral remains an active

 8   company there is reason to believe that Silver could very well allow this business to become

 9   suspended to avoid liability as he did with his other ventures. In fact, this entity was

10   suspended for a time from January 4, 2022 to May 11, 2022. Were this to occur it would limit

11   Plaintiff's availability to collect any amount of her owed wages, creating an inequitable

12   result.

13         As such, the finding is that Defendant Silver is liable as an alter ego of Collateral,

14   MVMT, Grind and Eclipse and shall be responsible to the same extent as the corporations.

15
      3. Regular Wages
16
          Defendant's business is regulated by the Industrial Welfare Commission Order
17
     ("Wage Order") Number 4 - 2001. Section 7 (A)(3) of the Wage Order requires an employer
18
     to maintain time records showing when the employee begins and ends each work period.
19
     Meal periods, split shift intervals and total daily hours worked shall also be recorded.
20
     Section 7 (C) of the Order requires that records be maintained for a period of 3 years.
21
          The court has held that in the absence of the legally required time records, an
22
     employee's reasonable and credible testimony as to the number of hours worked is entitled
23
     to receive substantial evidentiary weight and is sufficient to meet the burden of proof
24
     required by law. Hernandez v. Mendoza (1988) 199 Cal.App.3rd 721.
25
           Section 3 of the Wage Order and Labor Code Section 510 requires that employees be
26
     paid at one and one-half times their regular rate of pay for all hours worked in excess of 8
27
     hours in 1 workday and/or in excess of 40 hours in any workweek. Any work in excess of
28

                                                 Page 5
     ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
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1    12 hours in 1 day shall be compensated at twice the regular rate of pay. In addition, any
 2   work in excess of 8 hours on any seventh day of the workweek shall be compensated at the
3    rate of no less than twice the regular rate of pay.
 4        The credible and uncontested testimony was sufficient to support a finding that
 5   Plaintiff is entitled to recover from Defendants 519.93 hours of unpaid wages earned from
 6   November 25, 2019 to February 16, 2020, at the rate of $28.85 per hour, earning $14,999.98
 7   less $6,351.97 paid being $8,648.01, as claimed.
8
      4. Liquidated Damages
 9
          Labor Code Section 1194.2 (a) states, in relevant part, that, "In any action under Section
10
     98, 1193.6, or 1194 to recover wages because of the payment of a wage less than the minimum
11
     wage fixed by an order of the commission or by statute, an employee shall be entitled to
12
     recover liquidated damages in an amount equal to the wages unlawfully unpaid and
13
     interest thereon." Further, it is the policy of the Labor Commissioner to award liquidated
14
     damages for all wages which were due but unpaid at the time a claimant filed their wage
15
     claim even if these wages were eventually paid.
16
          In the instant matter, from November 25, 2019 to February 16, 2020, Plaintiff worked
17
     299.76 uncompensated hours; hence there was a minimum wage violation here, as Plaintiff
18
     was not paid at least the guaranteed local Pasadena minimum wage for employers with less
19
     than 26 employees of $13.25 per hour for each hour worked. As a result, Plaintiff is awarded
20
     299.76 hours of liquidated damages at $13.25 per hour, being $3,971.82.
21
22     5. Interest
23        Pursuant to Labor Code sections 98.1 and 1194.2(a), all awards granted pursuant to a

24   hearing shall accrue interest on all due and unpaid wages and liquidated damages.

25   Therefore, Plaintiff is entitled to recover interest in the sum of $3,108.28.

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1     6. Waiting Time Penalties
2         Labor Code Section 202 establishes that if an employee, not having a written contract
3    for a definite period, quits employment, wages shall become due and payable not later than
 4   72 hours thereafter, unless the employee has given 72 hours prior notice of the intention to
 5   quit, in which case the employee is entitled to the wages at the time of quitting.
 6        Labor Code Section 203 provides that if an employer willfully fails to pay, without
 7   abatement or reduction, in accordance with Labor Code Section 202, the wages of the
 8   affected employee shall continue as a penalty from the due date thereof, at the same rate
 9   until paid, up to a maximum of 30 calendar days. This penalty is commonly referred to as
10   waiting time penalties.
11        Additionally, it is noted that willful, as used in Section 203, does not require malice or
12   blamable conduct, but merely that the failure to pay was intentional. Intentional as defined
13   by the statute and case law does not mean with evil intent, but simply that the employer
14   knows, or should have known such wages were due and fails to pay them. Unlike criminal
15   violations which may arise under the law for failure to pay wages, the civil penalty assessed
16   pursuant to Labor Code Section 203 does not require that the employer intended the action;
17   merely that the action occurred and it was within the employer's control. (Davis v. Morris
18   (1940) 37 Cal.App.2d 269).
19        In the instant matter, Plaintiff quit with notice effective on February 16, 2020. Final
20   wages were due on February 16, 2020, and Plaintiff has yet to receive final payment of all of
21   her earned wages. The Defendant knew that Plaintiff's wages were due and failed to pay
22   them. Therefore, the finding is that Defendant willfully withheld Plaintiff's wages within
23   the meaning of Labor Code Section 203. Accordingly, Plaintiff is awarded the maximum 30
24   days of penalties pursuant to Labor Code Section 203 at $230.80 per day (8 hours x $28.85
25   per hour), totaling $6,924.00.
26

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     ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
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1     7. Penalties pursuant to Labor Code section 210(a) for failure to pay wages
 2
          Labor Code section 210(a) provides that:
 3         [E]very person who fails to pay the wages of each employee as provided in Sections 201.3,
 4         204, 204b, 204.1, 204.2, 204.11, 205, 205.5, and 1197.5, shall be subject to a penalty as follows:
           (1) For any initial violation, one hundred dollars ($100) for each failure to pay each employee.
 5         (2) For each subsequent violation, or any willful or intentional violation, two hundred dollars
           ($200) for each failure to pay each employee, plus 25 percent of the amount unlawfully
 6
           withheld.
 7
          As previously stated, willful, as used in Section 203, does not require malice or
 8
     blamable conduct, but merely that the failure to pay was intentional. The Defendant knew
 9
     that Plaintiff's wages were due and failed to pay them timely.
10
          Plaintiff was not paid timely during the period from November 25, 2019 to February 8,
11
     2020 for 5 biweekly payroll periods as willful or intentional violations, at $200.00 each plus
12
     25 percent of $7,259.12 payroll' totaling for a total of [(5) X $200.00 + .25 X $7,259.12]; being
13
     $2,814.78.
14
          However, Plaintiff also claims 210 penalties for her final pay period of February 9, 2020
15
     to February 16, 2020. Any employee in active, ongoing employment who has not been fully
16
     paid for all wages earned during a pay period at the time when such payment is due
17
     pursuant to section 204 is entitled to penalties under section 210 as a result of the violation
18
     of section 204 for the pay period in question. Likewise, any separated employee who was
19
     not paid all wages due for one or more pay periods prior to the employee's final pay period
20
     would certainly have a claim for 210 penalties as to all such pay periods prior to their final
21
     pay period; and a claim for 203 penalties based on the failure to pay all wages due upon
22
     separation of employment.
23
          The right to section 210 penalties arises from violations that are distinct from the
24
     violations that give rise to section 203 penalties. Section 210 penalties are "in addition to,
25

26

27

28   ' 519.93 hours worked / 54 days worked x 49 days excluding final pay period x $28.85 per hour - $6,351.97
     paid
                                                       Page 8
     ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
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1    and entirely independent and apart from any other penalty provided by this article." (Lab.
 2   Code sect. 210(a).) This means that a worker may be entitled to both section 210 and section
3    203 penalties, provided that there was a violation of a statute that supports the imposition
 4   of section 210 penalties and a violation of a statute that supports the imposition of section
 5   203 penalties. It does not mean that section 210 penalties can be imposed for a violation that
 6   only supports the imposition of section 203 penalties, or that section 203 penalties can be
 7   imposed for a violation that only supports the imposition of section 210 penalties.
 8        Section 210(a) states that the penalties established under that section can be imposed
 9   when an employer fails to pay wages as required under Section 204 (governing the payment
10   of all wages owed to all workers "other than those mentioned in sections 201, 201.3, 202,
11   204.1, or 204.2." Section 204 generally requires payment of all wages earned for work
12   performed during a pay period on the regularly scheduled pay day for that pay period,
13   which must be scheduled not later than 10 or 11 days after the final date of the pay
14   period. Section 210 penalties for violations of section 204 are imposed for each separate
15   violation — i.e., for each pay period as to which the wages due under section 204 were not
16   paid in accordance with the requirements of section 204. These penalties are applicable not
17   only as to wages that were never paid, but also, as to wages that were untimely paid).
18        As stated, Plaintiff's claim involves the untimely payment of wages that were earned
19   during her final pay period. Defendant, in this situation, is not violating Labor Code section
20   204 because section 204 expressly does not cover wages "mentioned in Section 201 ... [or]
21   202 ..." Instead, the employer is violating section 201, and thus, the only penalties that can
22   be imposed for the late payment are those provided under section 203. Thus, Plaintiff would
23   be due the penalties only for the 5 prior pay periods and not her final pay period. As stated
24   above, this amount is $2,814.78.
25

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     ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
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1                                         CONCLUSIONS
          For all the reasons set forth above, IT IS HEREBY ORDERED that Defendants
 2
 3   Collateral Damage LLC, a California limited liability corporation, Brinson Silver, an

 4   individual, MVMT Finance LLC, a limited liability company, Grind Banking, Inc., a

 5   foreign corporation and Eclipse Vision LLC, a limited liability company, shall pay

 6   Plaintiff a total amount of $25,466.89, as indicated below:

 7
 8         1. $8,648.01 as earned but unpaid regular wages;

 9         2. $3,971.82 as liquidated damages pursuant to Labor Code section 1194.2;

10         3. $3,108.28 as interest pursuant to Labor Code sections 98.1 and 1194.2;

11         4. $6,924.00 as waiting time penalties pursuant to Labor Code section 203; and

12         5. $2,814.78 as late payroll penalties pursuant to Labor Code section 210(a).

13
14         The total amount of Plaintiff's award to which Plaintiff is entitled is $25,466.89.

15   All Defendants share liability for the full amount of Plaintiff's award. This award is not

16   yet a final judgment. This award shall become final and enforceable as a judgment in court

17   against each Defendant who does not file an appeal pursuant to Labor Code Section 98.2.

18   Once a final judgment based on this award is entered in court against any non-appealing

19   Defendant, Plaintiff may seek to recover the amounts set forth in the judgment against that

20   non-appealing Defendant — but Plaintiff can only recover a total of $25,466.89 from all

21   Defendants together. The Labor Commissioner's Office will immediately proceed to

22   obtain a final judgment against any Defendant who does not appeal this award.

23

24

25          Dated: August 3, 2022                            Marc Perel, Hearing Officer

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     ORDER, DECISION, OR AWARD OF THE LABOR COMMISSIONER
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    STATE OF CALIFORNIA                                                               DATE FILED
    Department of Industrial Relations                                                03-17-2020
    Labor Commissioner's Office                                                       DISTRICT OFFICE
    6150 Van Nuys Blvd, Room 206                                                      Van Nuys WCA
    Van Nuys, CA 91401                                                                TAKEN BY
    Email: laborcomm.wca.vno@dir.ca.gov                                               Elia Madera
    Fax: (818) 901-5307
    PLAINTIFF:
    Lauren Lanskie,
     DEFENDANT(S):                                                                            DOES I
     Collateral Damage LLC, a California Limited Liability Corporation;                       THROUGH
     Brinson Silver, an individual; MVMT FINANCE LLC, a Limited Liability                     V,
     Company; GRIND BANKING, INC., a Foreign Corporation;                                     Defendant(s)
     ECLIPSE VISION LLC, a Limited Liability Company
     State Case Number:
     WC-CM-782464                                                         COMPLAINT

 PLAINTIFF ALLEGES:
 1. Plaintiff was/is employed by the defendant(s) named above to perform personal services as:
    Administrative
 2. for the period November 24, 2019 to February 16, 2020
 3. in the County of Los Angeles, California; under the terms of an oral agreement.
 4. that there is due, owing and payable from the defendant to the plaintiff an amount as and for wages,
    penalties and/or other demands for compensation as set out below:
                                                                         Amount           Less
                              CLAIM                                     Earned or       Amount       Balance Due
                                                                         Accrued          Paid
  REGULAR WAGES -- From 11/25/2019 through 02/22/2020,                   $14,999.98      $6,351.97     $8,648.01
  plaintiff claims wages earned at the rate of $28.85 per hour, for
  519.93 regular hours worked.
  LIQUIDATED DAMAGES: Failure to Pay Minimum Wages --                    $4,271.58                     $4,271.58
  At least minimum wage must be paid for all hours worked,
  including any overtime hours worked. An employee is entitled
  to recover liquidated damages in an amount equal to minimum
  wages earned but not paid as required by law. (See Labor Code
  Section 1194.2)
  From 11/25/2019 through 02/21/2020, plaintiff claims
  liquidated damages, as follows:
  Minimum wages earned at $14.25 per hour, for a total of 299.76
  hour(s) where at least minimum wage was not paid. Less a total
  of $0.00 paid. Liquidated damages equal the balance due.
  WAITING TIME PENALTIES — If an employer willfully fails                 $6,924.00                    $6,924.00
  to pay, in accordance with Labor Code Section 202, any wages
  of an employee who quits, the wages of the employee continue
  as a penalty from their due date at the same rate until paid, up to
  a maximum of 30 days. (See Labor Code Section 203)
  Plaintiff provided at least 72 hours' notice of quitting, effective
  02/16/2020, on which date wages were due. Plaintiff claims
  waiting time penalties for 30 days' worth of wages, based on a
  rate of pay of $230.80 per day. Daily rate of pay is calculated as
   follows: $28.85 per hour x 8 hours per day.                            •
   LATE PAYROLL: Penalty — Failure by an employer to pay the              $2,362.00                     $2,362.00
  wages of each employee as provided in Sections 201.3, 204,
   204(b), 204.1, 204.2, 204.11, 205.5 and 1197.5, entitles the
   employee to a penalty of one hundred dollars ($100) for any

 WCA 55 (Rev. 08/19) Complaint
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                                                                         Amount          Less
                               CLAIM                                    Earned or       Amount    Balance Due
                                                                         Accrued         Paid
  subsequent violation, or any willful or intentional violation, plus
  25 percent of the amount unlawfully withheld.

  Plaintiff was not paid timely during the period from 11/25/2020
  to 02/21/2020 and claims 1 as a willful or intentional violation,
  at $200 each plus 25 percent of 8648.01 payroll totaling for a
  total of [(I) X 200.00 + .25 X 8648.01]
  TOTAL CLAIMED                                                                                    $22,205.59

 Interest pursuant to Labor Code Section(s) 98.1(c), 248.5(f), 1194.2 and/or 2802(b).

 A document detailing the amount(s) due may be attached. Amount(s) due as set forth herein may be
 approximate and subject to modification based on evidence presented at hearing.


 PLAINTIFF CERTIFIES THAT THE FOREGOING IS TRUE AND CORRECT TO THE BEST
 OF HIS/HER KNOWLEDGE AND BELIEF.

 Executed at: Van Nuys, County of Los Angeles, Californi

           11'1543
 Dated:
             Date of Signature                                            Sig ture of Plaintiff




 WCA 55 (Rev. 08/19) Complaint                          Page 2 of 2                               WC-CM-782464
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Lauren Lanskie
8472 GARIBALDI AVE
SAN GABRIEL CA 91775




STATE CASE NUMBER: WC-CM-782464
  Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 37 of 84 PAGEID #: 356
                                                     State of California
                                              Department of Industrial Relations
                                       DIVISION OF LABOR STANDARDS ENFORCEMENT
                                                CERTIFICATION OF SERVICE BY MAIL
                                                 (C.C.P. 1013A) OR CERTIFIED MAIL

I, Jason Kwan, do hereby certify that I am a resident of or employed in the County of Los Angeles,
over 18 years of age, not a party to the within action, and that I am employed at and my business
address is:
                                        LABOR COMMISSIONER, STATE OF CALIFORNIA
                                                 6150 Van Nuys Blvd Room 206
                                                      Van Nuys, CA 91401
                                          Tel: (818) 901-5315 Fax: (415) 329-1659

I am readily familiar with the business practice of my place of business for collection and processing
of correspondence for mailing with the United States Postal Service. Correspondence so collected and
processed is deposited with the United States Postal Service that same day in the ordinary course of
business.
On July 8, 2022, at my place of business, a copy of the following document(s):
                                            Notice of Hearing, Complaint and Answer

was(were) placed for deposit in the United States Postal Service in a sealed envelope, by First Class
and Certified with postage fully prepaid, addressed to:
NOTICE TO:
Lauren Lanskie
                                                                                  Service Address

                                                                            10736 JEFFERSON BLVD it 632
                       Brinson Silver, an Individual
                                                                            CULVER CITY, CA 90230-4933

                Legalzoom.com, Inc., Agent for Service for                    101 N BRAND BLVD FL 11
     Collateral Damage LLC, a California Limited Liability Corporation        GLENDALE, CA 91203-2638

          Legalzoom.com, Inc., Agent for Service on behalf of                 101 N BRAND BLVD FL 11
           MVMT FINANCE LLC, a Limited Liability Company                      GLENDALE, CA 91203-2638

              Brinson Silver, Agent for Service on behalf of                6111 S. GRAMERCY PLACE STE 4
              GRIND BANKING, INC., a Foreign Corporation                       LOS ANGELES, CA 90047

           Legalzoom.com, Inc., Agent for Service on behalf of                 101 N BRAND BLVD FL 11
             ECLIPSE VISION LLC, a Limited Liability Company                  GLENDALE, CA 91203-2638

                                                                            Additional Service Address(es)

                                                                                 45 S ARROYO PLWY
                       Brinson Silver, an Individual
                                                                                PASADENA, CA 91105

and that envelope was placed for collection and mailing on that date following ordinary business
practices.
                        certify under penalty of perjury that the foregoing is true and correct.

Executed on July 8, 2022, at Van Nuys, California.

STATE CASE NUMBER: WC-CM-782464                                                                           Jason Kwan


 WCA 66 (Rev. 3/06) Certification of Mailing                                                                 Page 1 of 1
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 STATE OF CALIFORNIA
 Department of Industrial Relations
 Labor Commissioner Office
 6150 Van Nuys Blvd, Room 206
 Van Nuys, CA 91401
 EMAIL: laborcomm.wca.vno@dir.ca.gov
 FAX: (415) 329-1659
 PLAINTIFF:
    Lauren Lanskie,
 DEFENDANT:
     Collateral Damage LLC, a California Limited Liability Corporation; Brinson Silver, an
        Individual; MVMT FINANCE LLC, a Limited Liability Company; GRIND BANKING, INC.,
        a Foreign Corporation; ECLIPSE VISION LLC, a Limited Liability Company

 State Case Number                                   NOTICE OF HEARING
 WC-CM-782464                                               REMOTE


IMPORTANT: Carefully read this notice and the instructions below.
Submit the enclosed Appearance Sheet and any relevant documents
two weeks prior to the scheduled hearing. Failure to follow the
instructions may impact your ability to present or defend this claim.
Please do not appear in person unless instructed otherwise.

NOTICE: All parties in the above matter are to appear for a remote hearing as follows:

DATE:     August 2, 2022

TIME:     8:30 AM

HEARING TYPE:         Remote video

DIAL-IN/CONNECT:
          Zoom link: https://zoom.us/join
          Meeting ID: 929 118 6130



You are required to dial in/connect by using the information above. If you are unable to
connect via phone, computer and/or do not have stable internet access, please contact our
office immediately at (818) 901-5315 or via email at laborcomm.wca.vno@dir.ca.gov
(preferred). It is recommended that you contact us at least two weeks prior to your meeting
if you require special assistance or other arrangements.

 This hearing will be held pursuant to Labor Code Section 98(a) et. seq.




 WCA 61 (Rev. 01/22) Notice of IIearing - Remote                                         Page 1 of 4
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This notice constitutes demand on behalf of the Plaintiff that all wages due be mailed
immediately to the Labor Commissioner at the address listed above. Willful failure to pay when
wages are due implicates waiting time penalties pursuant to Labor Code section 203.

TO THE PLAINTIFF:
1. Any correspondence regarding the scheduled hearing in this matter should be directed to
   the Office of the Labor Commissioner shown above.
2. Failure to attend the scheduled hearing will result in the dismissal of your complaint.
3. You may, but need not be, represented by an attorney. You have the right to have a
   representative present at the hearing. It is not necessary that the representative be an
   attorney.
4. If you have any reason to believe that the person or corporation named as the defendant in
   this Notice of Hearing is not correct, you are urged to contact the Office of the Labor
   Commissioner.

TO THE DEFENDANT(S):
1. You may file an Answer with the Labor Commissioner at the office shown above. The
   hearing scheduled in this matter will be conducted regardless of whether you file or submit
   an Answer.
2. You may be, but need not be, represented by counsel. You have the right to have a
   representative present at the hearing. It is not necessary that such representation be an
   attorney. If you wish to seek the advice of counsel in this matter you should do so promptly
   so that your written answer, if any, may be filed on time.
3. The scheduled hearing in this matter will be held regardless of whether you appear. An
   Order, Decision or Award will be issued in accordance with the evidence offered at the
   hearing. A copy of the rules of practice and procedure governing these hearings is available
   at any district office of the Labor Commissioner.
4. Any wages awarded pursuant to this hearing will accrue interest from the date they were
   due until they are paid, in accordance with Labor Code Section 98.1(c). Any liquidated
   damages awarded due to unpaid minimum wages include interest thereon under Labor
   Code Section 1194.2. Interest also accrues on any unreimbursed business expenses
   awarded pursuant to Labor Code Section 2802(b).
5. In addition, you may be subject to civil penalties due the State of California, pursuant to
   Labor Code Section(s) 210 and/or 225.5, if applicable. You may also be subject to civil
   penalties due to the State of California, pursuant to Labor Code Section 226.8, if it is
   determined that you engaged in willful misclassification of the plaintiff as an independent
   contractor or other unlawful conduct related to any such misclassification.
6. This  matter can be disposed of without hearing by remitting in full the total amount
   specified in the Complaint, including liquidated damages and penalties pursuant to Labor
   Code Section(s) 1194.2, 203 and 203.1 (if stated in the Complaint), in which event you need
   not file or submit an Answer.
    With respect to the claims set forth in the Complaint, the basis for liability may be
    determined on various grounds, including but not limited to liability pursuant to Labor Code
    sections 2810.3 and/or 238.5, and/or individual liability pursuant to Labor Code section
    558.1.
    Under Labor Code Section 558.1, any employer or other person acting on behalf of an
    employer who violates, or causes to be violated, any provision regulating minimum wages
    or hours and days of work in any order of the Industrial Welfare Commission, or violates, or
 WCA 61 (Rev. 01/22) Notice of Hearing - Remote                                        Page 2 of 4
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    causes to be violated, Labor Code Sections 203, 226, 226.7, 1193.6, 1194, or 2802, may be
    held liable as the employer for such violation. For purposes of Labor Code Section 558.1, the
    term "other person acting on behalf of an employer" is limited to a natural person who is an
    owner, director, officer, or managing agent of the employer.

    Under Labor Code section 2810.3, a labor contractor(s) and the business entity (a "Client
    Employer") that was provided with workers by the contractor(s) to perform labor within the
    Client Employer's usual course of business may be held jointly and severally liable for any
    wages, damages, and penalties found due to the workers who performed the labor. A
    contract for the provision of labor between the contractor(s) and the Client Employer is not
    required for liability to attach under the law.

    Under Labor Code Section 238.5(a)(1) "Any individual or business entity, regardless of its
    form, that, as a part of its business, contracts for services in the property services or long-
    term care industries shall be jointly and severally liable for any unpaid wages, including
    interest,... to the extent the amounts are for services performed under that contract."
    "Property services" industry includes: "janitorial, security guard, valet parking, landscaping,
    and gardening services." § 238.5(e)(1).

TO BOTH PARTIES
1. You will be given the opportunity at the scheduled hearing to present any relevant
   evidence, to call witnesses and to cross-examine witnesses testifying against you.
   Application for the issuance of subpoenas to compel the attendance of necessary witnesses
   and the production of books and documents can be made to the Office of the Labor
   Commissioner. A copy of the rules of practice and procedures governing these hearings is
   available at any office of the Labor Commissioner.
2. While this claim is before the Labor Commissioner, you are required under Labor Code
   Section 98(a) to notify the Labor Commissioner in writing of any change in your business or
   personal address within 10 days after any change occurs.

 SPECIAL INSTRUCTIONS FOR REMOTE APPEARANCES
 1. You must complete the attached Appearance Sheet and submit as soon as possible or at
    least two weeks prior to the date of your meeting. It is critical that you provide this
    information in the event we need to contact you.
 2. If you plan to call witnesses, provide the name and contact information of the witnesses in
    the Appearance Sheet. The Hearing Officer has the discretion to limit the number of
    witnesses at the time of hearing. Witness participation will be limited to the duration of
    their own testimony.
 3. On the date and time of your meeting, parties are required to dial or connect according to
    the instructions on this notice. Please attempt to dial in or connect at least 5 minutes prior
    to the meeting.
 4. Assure you have a fully charged telephone or other device and uninterrupted time to
    participate in this meeting.
 5. Please note that prior to or during the hearing, the Hearing Officer will have discretion to
     postpone the matter to a later date if she or he decides that (a) the claim is inappropriate
    for a remote hearing and/or (b) any technical or logistical issues arise while conducting the
    hearing.

 WCA 61 (Rev. 01/22) Notice of Hearing - Remote                                            Page 3 of 4
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 DOCUMENTS/EXHIBITS
 1. If you intend to submit documents or exhibits, please submit two weeks prior to the
    meeting.
 2. If you submit evidence via email, please submit to LaborComm.WCA.VNO@dir.ca.gov. For
    security reasons, please do not include links as we may be unable to open these links.
 3. If you do not have access to email, please submit two (2) physical copies, one for the other
    party and the other for the hearing officer.
 4. Do not submit any confidential or private information. Remove this information from any
    documents prior to sending documents or exhibits.
 5. On a limited basis, other records may be accepted at the time of hearing based on the
    hearing officer's discretion. If there are concerns with record submissions, including
    technical issues, please contact our office immediately.
 6. You are also responsible for providing your witness with a copy of any documents relevant
    to testimony they will provide at the hearing. The hearing officer and other parties should
    also be provided with copies of such documents in advance.

 NOTICE DATE: July 8, 2022


 Marc Perel
 Hearing Officer




 WCA 61 (Rev. 01/22) Notice of Hearing - Remote                                       Page 4 of 4
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            LANSKIE
          DECLARATION
                   EXHIBIT C
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        To:       Will Campbell[will@quantasy.com]
        From:     Lauren Lanskie[lauren@collateraldamage.agency]
        Sent:     Fri 3/25/2022 7:48:14 PM (UTC)
        Subject: Quantasy Invoice
        Quantasv Invoice - March 2022.odf

        Good Afternoon Will,
        The invoice is attached.

        Regards,
        Lauren




        Lauren Lanskie         Executive Assistant         www.CollateralDamage.com
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 44 of 84 PAGEID #: 363




BILL TO:                                                                INVOICE #                ( 3012021
Quantasy, LLC.
                                                                        INVOICE DATE             March 1, 2022
312 S. Alameda Street, Suite 102
Los Angeles, CA 90013                                                   DUE DATE                 March 17, 2022




DESCRIPTION                                                         PRIC              QUANTITY             AMOUNT

CAMPAIGN DESIGN SUPPORT                                            .`:6i1-11.25                       —$96i1-1. .
                                                                                                           $96711 .



* 2% of total price will be apply for delay of payment per week.




                                                                              SUBTOTAL                    AMOUNT              --
                                                                                                                              - -1
                                                                              TAX

                                                                              AMOUNT DUE                  $96,111.25




                                                                                              THANK YOU




 COLLATERAL DAMAGE LLC.              45 5 Arroyo Pkwy          www.collateraldamage.agency   Iauren@collateraldamage.agency
                                    Pasadena, CA 91105
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 45 of 84 PAGEID #: 364
                                                                         INSTRUCTIONS


COLLATERAL DAMAGE LLC.                             ELECTRONIC PAYMENT INSTRUCTIONS

45 S Arroyo Pkwy                                                      Bank of America
Pasadena, CA 91105 415.919.9131                    Bank               12316 W. Washington Blvd
                                                                      Los Angeles, CA 90066
www.collateraldamage.agency                                                     - Paper & Electronic
                                                   Routing #
                                                                                - Wires
Questions please contact
lauren@collateraldamage.agency                     Account #




                                                                                THANK YOU




 COLLATERAL DAMAGE LLC.     45 5 Arroyo Pkwy    www.collateraldamage.agency   lauren@collateraldamage.agency
                           Pasadena, CA 91105
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 46 of 84 PAGEID #: 365




            LANSKIE
          DECLARATION
                  EXHIBIT D
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 47 of 84 PAGEID #: 366




        From:     Lauren Lanskie <lauren@collateraldamage.agency>
        Sent:     Thur 4/7/2022 11:29:36 PM (UTC)
        Subject: Sports Marketing Invoice
        To:       Will Campbell <will@quantasy.com>
        Quantasv Invoice - April 2022.pdf

        Hello Will,

        Please see the invoice attached.

        Regards,
        Lauren




        Lauren Lanskie         Executive Assistant        www.CollateralDamage.com
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 48 of 84 PAGEID #: 367




BILL TO:                                                               INVOICE #                    04012021
Quantasy, LLC.
                                                                       INVOICE DATE                April 1, 2022
312 S. Alameda Street, Suite 102
Los Angeles, CA 90013                                                  DUE DATE                    April 1, 2022




DESCRIPTION                                                        PRICE              QUANTITY                AMOUNT

Campaign Management Support
Sport Marketing Strategy and Implementation                        $2,800,000                1               $2,800,000.00
 -    NFL, NHL, Nascar and MLB
                                                                                                             $2,800,000.00

* 2% of total price will be apply for delay of payment per week.




                                                                              SUBTOTAL                        AMOUNT
                                                                              TAX

                                                                              AMOUNT DUE                    $2,800,000.00




                                                                                                  THANK YOU




 COLLATERAL DAMAGE LLC.              45 5 Arroyo Pkwy          www.collateraldamage.agency       Iauren@collateraldamage.agency
                                    Pasadena, CA 91105
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 49 of 84 PAGEID #: 368
                                                                         INSTRUCTIONS


COLLATERAL DAMAGE LLC.                             ELECTRONIC PAYMENT INSTRUCTIONS

45 S Arroyo Pkwy                                                      Bank of America
Pasadena, CA 91105 415.919.9131                    Bank               12316 W. Washington Blvd
                                                                      Los Angeles, CA 90066
www.collateraldamage.agency                                                     - Paper & Electronic
                                                   Routing #
                                                                                - Wires
Questions please contact
lauren@collateraldamage.agency                     Account #




                                                                                THANK YOU




 COLLATERAL DAMAGE LLC.     45 5 Arroyo Pkwy    www.collateraldamage.agency   lauren@collateraldamage.agency
                           Pasadena, CA 91105
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 50 of 84 PAGEID #: 369




            LANSKIE
          DECLARATION
                   EXHIBIT E
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 51 of 84 PAGEID #: 370




   To:       Will Campbell[will@quantasy.corn]
   From:     Lauren Lanskie[lauren@collateraldamage.agency]
   Sent:     Fri 4/8/2022 7:21:59 PM (UTC)
   Subject: Re: Sports Marketing Invoice
   Quantasy Invoice - April 2022 (1).pdf

   Hello Will,

   Please see the updated invoice. Let me know if you have any questions.

   Regards,
   Lauren

   On Thu, Apr 7, 2022 at 4:29 PM Lauren Lanskie <lauren@collateraldamage.agency> wrote:

     Hello Will,

     Please see the invoice attached.

     Regards,
     Lauren




     Lauren La nskie        Executive Assistant I www.CollateralDamage.com




   Lauren La nskie        Executive Assistant         www.CollateralDamage.com
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 52 of 84 PAGEID #: 371




BILL TO:                                                               INVOICE #                     04012021
.uantasy, LLC.
                                                                       INVOICE DATE                 April 1, 2022
312 S. Alameda Street, Suite 102
Los Angeles, CA 90013                                                  DUE DATE                     April 1, 2022



Overview: Collateral Damage (CD) will implement a sports marketing program integrating athletes and
sports organizations (i.e. NFL, NHL, MLB, Nascar) to activate for Root Insurance in support of national
awareness with an additional regional two-state focus in Colorado and Oklahoma. Program to include:



DESCRIPTION                                                                             QUANTITY              AMOUNT
I. A-List Pro Athlete Partnership: CD will negotiate, secure and
integrate athlete marketing partnership with A-list pro athlete Russell
Wilson or pro athlete of similar stature (i.e. NFL, NHL, MLB, Nascar) and
regard. Athlete will participate in content, social media posting and                         1                $1,500,000
appearances including promotion of in-market activations in Colorado
during Q2/Q3 2022.


 II. Sports In uencers: CD will negotiate, secure and integrate up to ten
 but no less than six (6-10) athlete/in uencer endorsements for Root                                           $1.100,000
                                                                                              1
 Sports In uencer Marketing program. Athletes will participate in core
-campaign activations including online and in-market appearances
 III. Sports Teams and Venue Partnership Activations: CD will
 negotiate, secure and integrate sports partnerships (i.e. NFL, NHL, MLB,
                                                                                              1               $3,000,000
 Nascar) with sports teams and venues to activate against Root
insurance campaign creative.
IV. Strategy and Implementation Support: CD will provide strategy and
execution services to integrate sport marketing programs across
                                                                                              1                Included
campaign elements including Best Driver in America Challenge,
In-Market activations and takeovers, online integrations
* 2% of total price will be apply for delay of payment per week.



                                                                             SUBTOTAL                        AMOUNT
                                                                                      Total                  $5,600,000

THANK YOU                                                                    !MOUNT DUE

                                                                                       4/1                   $2,800,000
                                                                                      4/15                   $2,800,000


 COLLATERAL DAMAGE LLC.              45 5 Arroyo Pkwy          www.collateraldamage.agency        Iauren@collateraldamage.agency
                                    Pasadena, CA 91105
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 53 of 84 PAGEID #: 372
                                                                         INSTRUCTIONS


COLLATERAL DAMAGE LLC.                             ELECTRONIC PAYMENT INSTRUCTIONS

45 S Arroyo Pkwy                                                      Bank of America
Pasadena, CA 91105 415.919.9131                    Bank               12316 W. Washington Blvd
                                                                      Los Angeles, CA 90066
www.collateraldamage.agency                                                     - Paper & Electronic
                                                   Routing #
                                                                                - Wires
Questions please contact
lauren@collateraldamage.agency                     Account #




                                                                                THANK YOU




 COLLATERAL DAMAGE LLC.     45 5 Arroyo Pkwy    www.collateraldamage.agency   lauren@collateraldamage.agency
                           Pasadena, CA 91105
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 54 of 84 PAGEID #: 373




            LANSKIE
          DECLARATION
                   EXHIBIT F
            Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 55 of 84 PAGEID #: 374


To:        David Rodriguez[david@quantasy.com]
From:      Will Campbell[will@quantasy.com]
Sent:      Fri 4/22/2022 3:45:36 PM (UTC)
Subject: Fwd: Updated invitation: Quantasy + Collateral Intro @ Fri Apr 22, 2022 12pm - 1pm (PDT) (Will Campbell)
Mail Attachment.ics
invite.ics




Will Campbell I CEO Quantasy, LLC I 312 S. Alameda Street, Suite 102 I Los Angeles, CA 90013 I P:
424.331.9260 I quantasy.com


       Begin forwarded message:

       From: lauren(ikollateraldamage.agency
       Subject: Updated invitation: Quantasy + Collateral Intro   Fri Apr 22, 2022 12pm - 1pm (PDT) (Will
       Campbell)
       Date: April 22, 2022 at 7:38:40 AM PDT
       To: Will Campbell <willgquantasy.com>, cyntoria@collateraldamage.agency,
       eli@collateraldamage.agency, Hello BC <hello@bc-silver.com>, paige@collateraldamage.agency
       Reply-To: laurenacollateraldamage.agency

         This event has been changed.
         Quantasy + Collateral Intro
         When             Changed:Fri Apr 22, 2022 12pm               1pm Pacific Time - Los Angeles


         Calendar         Will Campbell


         Who                    lauren(&.collateraldamaae.aaencv - organizer

                                cyntoria(&collateraldamage.aaency

                                eli(acollateraldamaae.aaencv

                                Hello BC

                                paigeAcollateraldamage.agency

                                Will Campbell


         more details »
         Going (will(aquantasy.com)?           Yes - Maybe - No          more options >>


         Invitation from Google Calendar

         You are receiving this email at the account will@quantasy.com because you are subscribed for updated invitations on calendar Will Campbell.

         To stop receiving these emails, please log in to https://calendar.google.com/calendar/ and change your notification settings for this calendar.

         Forwarding this invitation could allow any recipient to send a response to the organizer and be added to the guest list, or invite others regardless of their
         own invitation status, or to modify your RSVP. Learn More.
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 56 of 84 PAGEID #: 375




            LANSKIE
          DECLARATION
                  EXHIBIT G
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 57 of 84 PAGEID #: 376




                  To:        Will Campbell[will@guantasy.com]
                  From:      Lauren Lanskie[lauren@collateraldamage.agency]
                  Sent:      Wed 4/27/2022 1:55:52 AM (UTC)
                  Subject: CD W9 and Invoice
                  Quantasy Invoice - April 15 2022.pdf
                  Collateral Damage W9 Signed PL.pdf

                  Please see the attached W9 and Invoice.
         Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 58 of 84 PAGEID #: 377

Form     VV-9
(Rev. October 2018)
                                                               Request for Taxpayer
                                                     Identification Number and Certification
                                                                                                                                                                 Give Form to the
                                                                                                                                                                 requester. Do not
Department of the Treasury                                                                                                                                       send to the IRS.
Internal Revenue Service                        Go to www.irs.gov/FormW9 for instructions and the latest information.
         1 Name (as shown on your income tax return). Name is required on this line; do not leave this line blank.
              Paige Lynette
         2 Business name/disregarded entity name, if different from above
              Collateral Damage LLC
                                                                                                                                    one of the   4 Exemptions (codes apply only to
    a) 3 Check appropriate box for federal tax classification of the person whose name is entered on line 1. Check only
    ca)
    co   following seven boxes.                                                                                                                  certain entities, not individuals; see
                                                                                                                                                 instructions on page 3):
          0    Individual/sole proprietor or     0    C Corporation       0    S Corporation       0       Partnership      0   Trust/estate
               single-member LLC                                                                                                                 Exempt payee code (if any)

         Vi    Limited liability company. Enter the tax classification (CXC corporation, 5S corporation,
               Note: Check the appropriate box in the line above for the tax classification of the single
                                                                                                                 P=Partnership)al
                                                                                                       -member owner. Do not check               Exemption from FATCA reporting
               LLC if the LLC is classified as a single-member LLC that is disregarded from the owner unless the owner of the LLC is
                                                                                                                                                 code (if any)
               another LLC that is not disregarded from the owner for U.S. federal tax purposes. Otherwise, a single-member LLC that
               is disregarded from the owner should check the appropriate box for the tax classification of its owner.
          ❑ Other (see instructions) a                                                                                                           (Applies to accounts inamtained outside the U S )

         5 Address (number, street, and apt. or suite no.) See instructions.                                               Requesters name and address (optional)

          5576 Alexanders Lake Rd. SW
         6 City, state, and ZIP code
         Stockbridge, GA 30281
         7 List account number(s) here (optional)


 Part I            Taxpayer Identification Number (TIN)
Enter your TIN in the appropriate box. The TIN provided must match the name given on line 1 to avoid                                1 Social security number
backup withholding. For individuals, this is generally your social security number (SSN). However, for a
resident alien, sole proprietor, or disregarded entity, see the instructions for Part I, later. For other
entities, it is your employer identification number (EIN). If you do not have a number, see      How to get a
TIN, later.                                                                                                                         Or
Note: If the account is in more than one name, see the instructions for line 1. Also see What Name and                               Employer Identification number
Number To Give the Requester for guidelines on whose number to enter.                                                               IT]
                                                                                                                                    1818 1 11 17 15131315181
 Part II           Certification
Under penalties of perjury, I certify that:
1. The number shown on this form is my correct taxpayer identification number (or Lam waiting for a number to be issued to me); and
2. Lam not subject to backup withholding because: (a) Lam exempt from backup withholding, or (b) I have not been notified by the Internal Revenue
   Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, orIRS)illuanotified me that Lam
   no longer subject to backup withholding; and
3. Lam a U.S. citizen or other U.S. person (defined below); and
4. The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.
Certification instructions.   You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup     withholding because
you have failed to report all interest and dividends on your tax return. For real estate transactions, item 2 does not appbr mortgage interest paid,
acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirementangement (IRA), and generally, payments
other than interest and dividends, you are not required to sign the certification, but you must     provide your correct TIN. See the instructions for Part II, later.
Sign
Here
               Signature of
               U.S. person a                   Pez.*4z. Zrztel                                                            Date a     04/26/2022


General Instructions                                                                               Form 1099-DIV (dividends, including those from stocks or mutual
                                                                                                 funds)
Section references are to the Internal Revenue Code unless otherwise                               Form 1099-MISC (various types of income, prizes, awards, or gross
noted.                                                                                           proceeds)
Future developments . For the latest information about developments                                Form 1099-B (stock or mutual fund sales and certain other
related to Form W-9 and its instructions, such as legislation enacted                            transactions by brokers)
after they were published, go to www.irs.gov/FormW9.
                                                                                                   Form 1099-S (proceeds from real estate transactions)
Purpose of Form                                                                                    Form 1099-K (merchant card and third party network transactions)
An individual or entity (Form W-9 requester) who is required to file an                            Form 1098 (home mortgage interest), 1098-E (student loan interest),
information return with the IRS must obtain your correct taxpayer                                1098-T (tuition)
identification number (TIN) which may be your soclal'security number                               Form 1099-C (canceled debt)
(SSN), individual taxpayer identification number (ITIN), adoption
taxpayer identification number (ATIN), or employer identification number                           Form 1099-A (acquisition or abandonment of secured property)
(EIN), to report on an information return the amount paid to you, or other                          Use Form W-9 only if you are a U.S. person (including a resident
amount reportable on an information return. Examples of information                              alien), to provide your correct TIN.
returns include, but are not limited to, the following.                                             If you do not return Form W-9 to the requester with a TIN, you might
  Form 1099-INT (interest earned or paid)                                                        be subject to backup withholding. See What is backup withholding,
                                                                                                 later.

                                                                    Cat. No. 10231X                                                                            Form W-9 (Rev. 10-2018)
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 59 of 84 PAGEID #: 378




BILL TO:                                                               INVOICE #                     04152021
.uantasy, LLC.
                                                                       INVOICE DATE                 April 15, 2022
312 S. Alameda Street, Suite 102
Los Angeles, CA 90013                                                  DUE DATE                     April 15, 2022



Overview: Collateral Damage (CD) will implement a sports marketing program integrating athletes and
sports organizations (i.e. NFL, NHL, MLB, Nascar) to activate for Root Insurance in support of national
awareness with an additional regional two-state focus in Colorado and Oklahoma. Program to include:



DESCRIPTION                                                                             QUANTITY              AMOUNT
I. A-List Pro Athlete Partnership: CD will negotiate, secure and
integrate athlete marketing partnership with A-list pro athlete Russell
Wilson or pro athlete of similar stature (i.e. NFL, NHL, MLB, Nascar) and
regard. Athlete will participate in content, social media posting and                         1                $1,500,000
appearances including promotion of in-market activations in Colorado
during Q2/Q3 2022.


 II. Sports In uencers: CD will negotiate, secure and integrate up to ten
 but no less than six (6-10) athlete/in uencer endorsements for Root                                           $1.100,000
                                                                                              1
 Sports In uencer Marketing program. Athletes will participate in core
-campaign activations including online and in-market appearances
 III. Sports Teams and Venue Partnership Activations: CD will
 negotiate, secure and integrate sports partnerships (i.e. NFL, NHL, MLB,
                                                                                              1               $3,000,000
 Nascar) with sports teams and venues to activate against Root
insurance campaign creative.
IV. Strategy and Implementation Support: CD will provide strategy and
execution services to integrate sport marketing programs across
                                                                                              1                Included
campaign elements including Best Driver in America Challenge,
In-Market activations and takeovers, online integrations
* 2% of total price will be apply for delay of payment per week.



                                                                             SUBTOTAL                        AMOUNT
                                                                                      Total                  $5,600,000

THANK YOU                                                                    !MOUNT DUE

                                                                                       4/1                   $2,800,000
                                                                                      4/15                   $2,800,000


 COLLATERAL DAMAGE LLC.              45 5 Arroyo Pkwy          www.collateraldamage.agency        Iauren@collateraldamage.agency
                                    Pasadena, CA 91105
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 60 of 84 PAGEID #: 379
                                                                         INSTRUCTIONS


COLLATERAL DAMAGE LLC.                             ELECTRONIC PAYMENT INSTRUCTIONS

45 S Arroyo Pkwy                                                      Bank of America
Pasadena, CA 91105 415.919.9131                    Bank               12316 W. Washington Blvd
                                                                      Los Angeles, CA 90066
www.collateraldamage.agency                                                     - Paper & Electronic
                                                   Routing #
                                                                                - Wires
Questions please contact
lauren@collateraldamage.agency                     Account #




                                                                                THANK YOU




 COLLATERAL DAMAGE LLC.     45 5 Arroyo Pkwy    www.collateraldamage.agency   lauren@collateraldamage.agency
                           Pasadena, CA 91105
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 61 of 84 PAGEID #: 380




            LANSKIE
          DECLARATION
                  EXHIBIT H
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 62 of 84 PAGEID #: 381




        To:       Will Campbell[will@quantasy.com]
        From:     Lauren Lanskie[lauren@collateraldamage.agency]
        Sent:     Wed 5/11/2022 4:10:30 AM (UTC)
        Subject: Quantasy May 10 Invoice
        Quantasy Invoice - May 10 2022.pdf

        Hello Will,
        Attached is the May 10th invoice. Have a great evening.

        Thanks
        BC'


        Lauren Lanskie        Accounts Payable       www.CollateralDamage.agency
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 63 of 84 PAGEID #: 382




BILL TO:                                                               INVOICE #                     05092022
.uantasy, LLC.
                                                                       INVOICE DATE                 May 1 2022
312 S. Alameda Street, Suite 102
Los Angeles, CA 90013                                                  DUE DATE                     May 10, 2022



Overview: Collateral Damage (CD) will implement a sports marketing program integrating athletes and
sports organizations (i.e. NFL, NHL, MLB, Nascar) to activate for brand clients. in support of national
awareness with an additional regional and national executions. Program to include:


nrcrawrinm                                                                              QUANTITY              AMOUNT
I. A-List Pro Athlete Partnership: CD will negotiate, secure and
integrate athlete marketing partnership with A-list pro athlete Russell
Wilson or pro athlete of similar stature (i.e. NFL, NHL, MLB, Nascar) and
regard. Athlete will participate in content, social media posting and                         1                $1,000,000
appearances including promotion of in-market activations during Q3/Q4
2022.


II. Sports In uencers: CD will negotiate, secure and integrate up to ten
but no less than six (6-10) athlete/in uencer endorsements for Root                                            $1.100,000
                                                                                              1
Sports In uencer Marketing program. Athletes will participate in core
campaign activations including online and in-market appearances
 III. Sports Teams and Venue Partnership Activations: CD will
 negotiate, secure and integrate sports partnerships (i.e. NFL, NHL, MLB,
 Nascar) with sports teams and venues to activate against Root
                                                                                              1               $1,400,000
insurance campaign creative.
IV. Strategy and Implementation Support: CD will provide strategy and
execution services to integrate sport marketing programs across
                                                                                              1                Included
campaign elements including Best Driver in America Challenge,
In-Market activations and takeovers, online integrations
* 2% of total price will be apply for delay of payment per week.



                                                                             SUBTOTAL                        AMOUNT
                                                                                      Total                  $3,500,000

THANK YOU                                                                    !MOUNT DUE

                                                                                      5/10                   $3,500,000




 COLLATERAL DAMAGE LLC.              45 5 Arroyo Pkwy          www.collateraldamage.agency        Iauren@collateraldamage.agency
                                    Pasadena, CA 91105
    Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 64 of 84 PAGEID #: 383
                                                                         INSTRUCTIONS


COLLATERAL DAMAGE LLC.                             ELECTRONIC PAYMENT INSTRUCTIONS

45 S Arroyo Pkwy                                                      Bank of America
Pasadena, CA 91105 415.919.9131                    Bank               12316 W. Washington Blvd
                                                                      Los Angeles, CA 90066
www.collateraldamage.agency                                                     - Paper & Electronic
                                                   Routing #
                                                                                - Wires
Questions please contact
lauren@collateraldamage.agency                     Account #




                                                                                THANK YOU




 COLLATERAL DAMAGE LLC.     45 5 Arroyo Pkwy    www.collateraldamage.agency   lauren@collateraldamage.agency
                           Pasadena, CA 91105
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 65 of 84 PAGEID #: 384




            LANSKIE
          DECLARATION
                    EXHIBIT I
      Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 66 of 84 PAGEID #: 385




To:      Hello BC[hello©bc-silver.corn]; paige@collateraldamage.agency[paige©collateraldamage.agency];
lauren©collateraldamage.agency[lauren@collateraldamage.agency]
From:    David Rodriguez[david©quantasy.corn]
Sent:    Thur 9/22/2022 11:33:47 PM (UTC)

Hey BC,
Hope you're well.

Just wanted to verify with you that the $9.1M that is currently with CD can be fully allocated to 2023 paid media.

Can you confirm?

Thanks,
David




QUANTASY + ASSOCIATES EVP & HEAD OF CLIENT SERVICES DAVID®OUANTASY.COM 312 S ALAMEDA ST, LOS ANGELES, CA OUANTASY.COM
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 67 of 84 PAGEID #: 386




            LANSKIE
          DECLARATION
                    EXHIBIT J
           Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 68 of 84 PAGEID #: 387




To:       BC Silver[bc.silver@joinroot.com]
From:     Lauren Lanskie[lauren@collateraldamage.agency]
Sent:     Wed 11/9/2022 7:02:36 PM (UTC)
Subject: Re: Root Q1 Planning
SOW Change Request Form 2022 shift to 2023.pdf
Root January Media Spend CMA 10 08 22.pdf
Subcontractor Agreement CD I Root.pdf

Hi BC
Here are the Collateral Damage contracts we have to date per your request. We look forward to continuing to work with
Root for 2023!

Best,

On Wed, Nov 9, 2022 at 9:24 AM BC Silver <bc.silver@joinroot.com> wrote:

  Hello Lauren,

  Can you make sure you send me all the Collateral Damage contracts we have to date. I want to make sure Root has them
  all on file for subcontractor work in the future. We look forward to seeing great results at the beginning of 2023.

  Please make sure you send this morning.

  Regards,
  BC
  415.919.9131




Lauren La nskie       Executive Assistant          www.CollateralDamage.com
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 69 of 84 PAGEID #: 388




 SCOPE OF WORK AGREEMENT                                                            CHANGE REQUEST

 Project Name:
  H2 2022 Marketing Plan Shifting to January 2023


 Effective Date of Change:
  10/04/2022


 Client R, uestln! Chan!e:
  Name:            BC Silver

  Title:             CMO



 Re. uested Chan!e:
  Original SOW itern(s)                  Description of Change
  H2 Marketing Spend Shift               We are shifting 2022 H2 Marketing plans to January 2023. All
                                         remaining budget will be leveraged next year.




 Reason for Change:
  We are shift Marketing strategies from Brand building to Profit focus. We are slowing our growth
  expectations for the year based on that shift. We expect to drive growth beginning in Q1/Q2 of 2023.



 Bud!et Chan! e:
  Original Contracted Amount             $9.1M

  Net Budget Change (+1-)                $0.00

  Revised Contracted Amount              $9.1M


 The parties agree that this Change Request is subject to the original Additional Terms and Services,
 unless otherwise outlined herein.


  Root Insurance                                             Collateral Damage


  By:                                                        By:         Lazz4.4.4., .Law.4,4*
  Name:                   BC Silver                          Name: Lauren Lanski

  Title:                  CMO                                Title: Principal
         Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 70 of 84 PAGEID #: 389




Client Media Authorization
(CMA)                                                                                           CD(
                                                                                                   CMA#: 121
                                                                                       Date: Mon, Oct 10, 2022

Company: Root Insurance                             Agency Media Contact:

                                                    Lauren Lanski

                                                    lauren@collateraldamage.agency
Client Contact: BC Silver I                         877-882-0578
bc.silver©joinroot.com

                                                    Agency Billing:
Client Billing Contact: invoices®Joinroot.corn      CD Billing I invoices@collateraldamage,agency




Flight Dates:1/1/23 - 1/31/23

Client Media Authorization must be signed prior to the agency placing any media insertion orders or
signing any publisher contracts on your company's behalf.



Estimated Budget by Partner

 Title                                                                                                Imp.

 ESPN:                                                                                            2,222,222

 Barstool Sports:                                                                                 4,370,629

                                                                                                   2,507,149

 Adserving                                                                                         Included



                                                                       Services Sub-total             $0.00

                                                                      Materials Sub-total    $9,100,000.00

                                                                                 Total       $9,lo0,00.00
       Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 71 of 84 PAGEID #: 390




Advertiser Representative

                                                                                10/10/22
BC Silver
CMO


Agency Representative
                        Law,c,A,                                                 10/10/22
Lauren Lanskio
Principal/Owner



Terms & Conditions
1. This CMA is governed by the Master Service Agreement. By signing this CMA, Advertiser/Agency is agreeing to
all terms specified, unless otherwise noted.
2. This Client Media Authorization (CMA) represents a pre-optimized budget distribution. Optimizations and
budgets shifts may occur after the signing of this CMA, but total amount of original CMA shall not be exceeded
without explicit permission and documented change order to CMA.
3. In purchasing media, materials or services on Client's behalf, Collateral Damage shall act as Client's agent and
all orders placed and contracts entered into by Collateral Damage for such purposes shall be billed to Client in
accordance with the terms of this Agreement. Collateral Damage shall be authorized to proceed with such
expenditures on behalf of Client upon receipt of Client's signed Client Media Authorization. Collateral Damage is
not responsible for the failure of media providers to provide their services.
4. Media Billing. In the event Collateral Damage is paying for media on Client's behalf, all such media shall be billed
monthly to Client at the initiation of media buy, upon receipt of CMA and shall be subsequently reconciled to
actual cost within ninety (90) daysafter receipt of media/site invoice documentation. Client acknowledges that
Collateral Damage Is not responsible for financing Cilent'sadvertising or media purchases, that Collateral Damage
shall make no commitments to purchase media until It has received payment therefore from Client, and that
Collateral Damage is merely acting as Client's agent in placing such orders. In the event of late payment,
Collateral Damage reserves the right In its sole discretion to place on hold media purchases on Client's behalf
until all outstanding invoices have been paid by CIlent. In the event of Client's failure to pay, Client will be directly
liable to media vendors for any outstanding amounts due.
S. Regardless of termination, at no time shall Collateral Damage be required to repay or return any monies that
have been paid to Collateral Damage pursuant to this Agreement and/or the services that Collateral Damage has
provided hereunder. All monies paid hereunder to Collateral Damage shall be non-refundable. All payments made
by Client hereunder shall be nonrefundable and deemed fully earned upon receipt. At no time and for no reason,
shall Client nor any third party have the right to claw back any
monies received by Collateral Damage hereunder. All purchases made by Collateral Damage hereunder shall be
non-refundable.
6. First Month's Payment and pre-paid media due upon receipt of Invoice.
7. Asterisk notes media spend that is directly billed to client on platform or by partnering agency.
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 72 of 84 PAGEID #: 391
                                                                                             CD(
                               Subcontractor Agreement
 This Subcontractor Agreement (the "Agreement") is entered into as of         10/04/22
 2022 (the "Effective Date") by and between Root Insurance Agency, LLC (hereinafter referred to as
 "Contractor") and Collateral Damage, LLC (hereinafter "Subcontractor").
   1. Engagement
       Subcontractor engages Contractor to serve as a Subcontractor for the provision of strategy,
       branding, media, and production services for Quantasy, LLC, pursuant to the Scope of Work
       Agreement between Contractor and Quantasy, which is incorporated herein by referenced. The
       aforementioned services shall be provided for a term ("Term") as hereinafter provided.
   2. Scope of Services
      Subcontractor will provide Contractor, for the benefit of Quantasy, with the services provided in
      Schedule 1, attached hereto. Should Contractor request Subcontractor to perform additional
      services beyond what is provided in Schedule 1, Contractor and Subcontractor will negotiate in
      good faith with respect to the terms, conditions, and compensation for such additional services.
      Any agreement for additional services will be in writing and considered an addendum to this
      Agreement.

  3. Term
      The term of this Agreement shall commence on the date provided in Schedule 1 ("Commencement
      Date") and shall continue until terminated by either party upon ninety (90) days' prior written
      notice ("Notice Period"), provided that this Agreement may not be terminated effective prior to the
      expiration of six (6) months from the Commencement Date. Notice shall be deemed given on the
      day of certified mailing or. During the Notice Period, Subcontractor's rights, duties, and
      responsibilities shall continue.

      Regardless of termination, at no time shall Subcontractor be required to repay or return any monies
      that have been paid to Subcontractor pursuant to this Agreement and/or the services that
      Subcontractor has provided to Quantasy on behalf of Contractor. All monies paid hereunder to
      Subcontractor shall be non-refundable.

  4. Compensation and Billing Procedure
      Subcontractor will be compensated and Contractor will be billed as provided in Schedule 1,
      attached hereto. All payments made to Subcontractor hereunder shall be nonrefundable and
      deemed fully earned upon receipt.

      At no time and for no reason, shall Contractor nor any third party have the right to claw back any
      monies received by Subcontractor hereunder,
  5. Confidentiality and Safeguard of Property
      Subcontractor and Contractor respectively agree to keep in confidence, and not to disclose or use
      for its own respective benefit or for the benefit of any third party (except as may be required for the
      performance of services under this Agreement or as may be required by law), any information,
      documents, or materials that are reasonably considered confidential regarding each other's
      products, business, customers, Subcontractors, suppliers, or methods of operation; provided,
      however, that such obligation of confidentiality will not extend to anything in the public domain or
      that was in the possession of either party prior to disclosure. Contractor and Subcontractor will take
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 73 of 84 PAGEID #: 392
                                                                                           C)(
       reasonable precautions to safeguard property of the other entrusted to it, but in the absence of
       negligence or willful disregard, neither Contractor nor Subcontractor will be responsible for any
       loss or damage.

   6. Indemnities
      Contractor agrees to indemnify and hold Subcontractor harmless with respect to any claims or
      actions by third parties against Subcontractor for any and all claims that may be brought against
      Subcontractor by virtue of this Agreement, including, but not limited to any claims that may be
      brought by Quantasy against Subcontractor.

      Contractor shall be responsible for fully indemnifying and holding harmless Subcontractor from
      any and all such claims, including covering Subcontractor's legal fees, costs, and/or any settlement
      payments or judgments that may require money to be paid by Subcontractor.

   7. Limitation of Liability
      EXCEPT FOR LIABILITY ARISING FROM A PARTY'S INDEMNIFICATION
      OBLIGATIONS, UNDER NO CIRCUMSTANCES AND UNDER NO LEGAL THEORY,
      WHETHER IN TORT, CONTRACT, OR OTHERWISE, SHALL EITHER PARTY BE LIABLE
      TO THE OTHER PARTY FOR ANY INDIRECT, SPECIAL, INCIDENTAL,
      CONSEQUENTIAL OR PUNITIVE DAMAGES OF ANY CHARACTER, INCLUDING,
      WITHOUT LIMITATION, DAMAGES FOR LOSS OF GOODWILL, LOST PROFITS, LOST
      SALES OR BUSINESS, WORK STOPPAGE, COMPUTER FAILURE OR MALFUNCTION,
      LOST DATA, OR FOR ANY AND ALL OTHER DAMAGES OR LOSSES, EVEN IF A
      REPRESENTATIVE OF A PARTY HAS BEEN ADVISED, KNEW OR SHOULD HAVE
      KNOWN OF THE POSSIBILITY OF SUCH DAMAGES. EXCEPT FOR LIABILITY ARISING
      FROM A PARTY'S INDEMNIFICATION OBLIGATIONS, NEITHER PARTY SHALL BE
      LIABLE TO THE OTHER PARTY FOR ANY DIRECT DAMAGES, COSTS, OR LIABILITIES

  8. Amendments
      Any amendments to this Agreement must be in writing and signed by Contractor and
      Subcontractor.

  9. Notices
      Any notice shall be deemed given on the day of certified mailing or, if notice is by e-mail, on the
      next day following the day notice is e-mailed:

      To:
      Root Insurance. LLC




      To:
      Collateral Damage, LLC




  10. Governing Law
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 74 of 84 PAGEID #: 393


      This Agreement shall be interpreted in accordance with the laws of the State of California without
      regard to its principles of conflicts of laws. Jurisdiction and venue shall be solely within the State of
      California.

   11. No Presumption Against Drafter

      Each of the parties has jointly participated in the negotiation and drafting of this Agreement. In the
      event of an ambiguity or a question of intent or interpretation arises, this Agreement shall be
      construed as if drafted jointly by each of the parties and no presumptions or burdens of proof shall
      arise favoring any party by virtue of the authorship of any of the provisions of this Agreement.


   12. Advice of Counsel

      In entering into this Agreement, each party has relied upon the advice of counsel, or has
      been advised, and has had reasonable time and opportunity, to consult counsel of its own
      choosing. Each party has completely read, fully understands, and voluntarily accepts the
      terms of this Agreement.

   13. Cumulative Rights and Remedies

      The rights and remedies provided for in this Agreement shall be cumulative; resort to one
      right or remedy shall not preclude resort to another or to any other right or remedy
      provided for by law or in equity.

   14. Counterparts

      This Agreement can be executed in counterparts, and each counterpart, when executed,
      shall have the effectiveness of a signed original. Photocopies of such signed counterparts
      may be used in lieu of the originals for any purpose.

   15. Enforceability Representation

      Each party to this Agreement represents that this Agreement constitutes the legally valid
      and binding obligation of that party, enforceable against that party in accordance with its
      terms, except as may be limited by bankruptcy, insolvency, reorganization, moratorium or
      similar laws relating to or affecting creditors' rights generally (including, without
      limitation, fraudulent conveyance laws) and by general principles of equity, including
      without limitation, concepts of materiality, reasonableness, good faith and fair dealing and
      the possible unavailability of specific performance or injunctive relief, regardless of
      whether considered in a proceeding in equity or at law.
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 75 of 84 PAGEID #: 394


 IN WITNESS WHEREOF, Contractor and Subcontractor have executed this Agreement.

 CONTRACTOR,

 Root Insurance, LLC:
       4,4 ' 17         .•
 By:
                 BC Silver
 Name:

 Title:           CMO



 SUBCONTRACTOR,

 Collateral Damage, LLC:

 By:      LazeilAut, 4,2444

 Name:         Lauren Lanski

 Title:           Officer
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 76 of 84 PAGEID #: 395


                                    Schedule 1: Scope of Work and Fees
                                                                         C ,'
 Description

 A-List Pro Athlete Partnership: CD will negotiate,
 secure and integrate athlete marketing
 partnership with A-list pro athlete Russell Wilson
 or pro athlete of similar stature (i.e. NFL, NHL,
 MLB, Nascar) and regard, Athlete will participate
 in content, social media posting and
 appearances including promotion of In-market
 activations in Colorado during Q2/Q3 2022.

 Sports Influencers: CD will negotiate, secure and
 integrate up to ten but no less than six (6-10)
 athlete/Influencer endorsements for Root Sports
 Influencer Marketing program. Athletes will
 participate In core campaign activations Including
 online and In-market appearances

 Sports Teams and Venue Partnership
 Activations: CD will negotiate, secure and
 integrate sports partnerships (i.e. NFL, NHL,
 MLB, Nascar) with sports teams and venues to
 activate against Root Insurance campaign
 creative.

Strategy and Implementation Support: CD will
provide strategy and execution to integrate sport
marketing programs across campaign elements
including Best Driver in America Challenge, In-

Market activations and integrations.
Total                                                 $9,100,000.00
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 77 of 84 PAGEID #: 396




 SCOPE OF WORK AGREEMENT                                                            CHANGE REQUEST

 Project Name:
  H2 2022 Marketing Plan Shifting to January 2023


 Effective Date of Change:
  10/04/2022


 Client R, uestln! Chan!e:
  Name:            BC Silver

  Title:             CMO



 Re. uested Chan!e:
  Original SOW itern(s)                  Description of Change
  H2 Marketing Spend Shift               We are shifting 2022 H2 Marketing plans to January 2023. All
                                         remaining budget will be leveraged next year.




 Reason for Change:
  We are shift Marketing strategies from Brand building to Profit focus. We are slowing our growth
  expectations for the year based on that shift. We expect to drive growth beginning in Q1/Q2 of 2023.



 Bud!et Chan! e:
  Original Contracted Amount             $9.1M

  Net Budget Change (+1-)                $0.00

  Revised Contracted Amount              $9.1M


 The parties agree that this Change Request is subject to the original Additional Terms and Services,
 unless otherwise outlined herein.


  Root Insurance                                             Collateral Damage


  By:                                                        By:         Lazz4.4.4., .Law.4,4*
  Name:                   BC Silver                          Name: Lauren Lanski

  Title:                  CMO                                Title: Principal
          Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 78 of 84 PAGEID #: 397




Client Media Authorization
(CMA)                                                                                           CD(
                                                                                                   CMA#: 121
                                                                                       Data: Mon, Oct 10, 2022

Company: Root Insurance                              Agency Media Contact:

                                                     Lauren Lanski     I

                                                     lauren©collateraldarnage.agency
Client Contact: BC Sliver I                          877-882-0578
bc.silver@jolnroot.com

                                                     Agency Billing:
Client Billing Contact: invoices@jolnroot.com        CD Billing I invoices©collateraldamage.agency




Flight Dates:1/1/23 - 1/31/23

Client Media Authorization must be signed prior to the agency placing any media insertion orders or
signing any publisher contracts on your company's behalf.



Estimated Budget by Partner

 Title                                                                                                Imp.

 ESPN:                                                                                            2,222,222

 Barstool Sports:                                                                                 4,370,629

 Heart:                                                                                            2,507,149

 Adserving                                                                                         Included



                                                                       Services Sub-total             $0.00

                                                                     Materials Sub-total     $9,100,000.00

                                                                                 Total       $9,100,00.00
       Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 79 of 84 PAGEID #: 398




Advertiser Representative

                                                                                10/10/22
BC Silver
CMO


Agency Representative
                        Law.4,6                                                  10/10/22
Lauren Lanskio
Principal/Owner



Terms & Conditions
1. This CMA is governed by the Master Service Agreement. By signing this CMA, Advertiser/Agency is agreeing to
all terms specified, unless otherwise noted.
2. This Client Media Authorization (CMA) represents a pre-optimized budget distribution. Optimizations and
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without explicit permission and documented change order to CMA.
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all orders placed and contracts entered into by Collateral Damage for such purposes shall be billed to Client in
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expenditures on behalf of Client upon receipt of Client's signed Client Media Authorization. Collateral Damage is
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Collateral Damage is merely acting as Client's agent in placing such orders. In the event of late payment,
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until all outstanding invoices have been paid by Client, In the event of Client's failure to pay, Client will be directly
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5. Regardless of termination, at no time shall Collateral Damage be required to repay or return any monies that
have been paid to Collateral Damage pursuant to this Agreement and/or the services that Collateral Damage has
provided hereunder. All monies paid hereunder to Collateral Damage shall be non-refundable. All payments made
by Client hereunder shall be nonrefundable and deemed fully earned upon receipt. At no time and for no reason,
shall Client nor any third party have the right to claw back any
monies received by Collateral Damage hereunder. All purchases made by Collateral Damage hereunder shall be
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6. First Month's Payment and pre-paid media due upon receipt of invoice.
7. Asterisk notes media spend that is directly billed to client on platform or by partnering agency.
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 80 of 84 PAGEID #: 399
                                                                                             C)(
                               Subcontractor Agreement
 This Subcontractor Agreement (the "Agreement") is entered into as of         10/04/22
 2022 (the "Effective Date") by and between Root Insurance Agency, LLC (hereinafter referred to as
 "Contractor") and Collateral Damage, LLC (hereinafter "Subcontractor").
   1. Engagement
      Subcontractor engages Contractor to serve as a Subcontractor for the provision of strategy,
      branding, media, and production services for Quantasy, LLC, pursuant to the Scope of Work
      Agreement between Contractor and Quantasy, which is incorporated herein by referenced. The
      aforementioned services shall be provided for a term ("Term") as hereinafter provided.
   2. Scope of Services
      Subcontractor will provide Contractor, for the benefit of Quantasy, with the services provided in
      Schedule 1, attached hereto. Should Contractor request Subcontractor to perform additional
      services beyond what is provided in Schedule 1, Contractor and Subcontractor will negotiate in
      good faith with respect to the terms, conditions, and compensation for such additional services.
      Any agreement for additional services will be in writing and considered an addendum to this
      Agreement.

  3. Term
      The term of this Agreement shall commence on the date provided in Schedule 1 ("Commencement
      Date") and shall continue until terminated by either party upon ninety (90) days' prior written
      notice ("Notice Period"), provided that this Agreement may not be terminated effective prior to the
      expiration of six (6) months from the Commencement Date. Notice shall be deemed given on the
      day of certified mailing or. During the Notice Period, Subcontractor's rights, duties, and
      responsibilities shall continue.

      Regardless of termination, at no time shall Subcontractor be required to repay or return any monies
      that have been paid to Subcontractor pursuant to this Agreement and/or the services that
      Subcontractor has provided to Quantasy on behalf of Contractor. All monies paid hereunder to
      Subcontractor shall be non-refundable.

  4. Compensation and Billing Procedure
      Subcontractor will be compensated and Contractor will be billed as provided in Schedule 1,
      attached hereto. All payments made to Subcontractor hereunder shall be nonrefundable and
      deemed fully earned upon receipt.

      At no time and for no reason, shall Contractor nor any third party have the right to claw back any
      monies received by Subcontractor hereunder,
  5. Confidentiality and Safeguard of Property
      Subcontractor and Contractor respectively agree to keep in confidence, and not to disclose or use
      for its own respective benefit or for the benefit of any third party (except as may be required for the
      performance of services under this Agreement or as may be required by law), any information,
      documents, or materials that are reasonably considered confidential regarding each other's
      products, business, customers, Subcontractors, suppliers, or methods of operation; provided,
      however, that such obligation of confidentiality will not extend to anything in the public domain or
      that was in the possession of either party prior to disclosure. Contractor and Subcontractor will take
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 81 of 84 PAGEID #: 400
                                                                                           CD(
       reasonable precautions to safeguard property of the other entrusted to it, but in the absence of
       negligence or willful disregard, neither Contractor nor Subcontractor will be responsible for any
       loss or damage.

   6. Indemnities
      Contractor agrees to indemnify and hold Subcontractor harmless with respect to any claims or
      actions by third parties against Subcontractor for any and all claims that may be brought against
      Subcontractor by virtue of this Agreement, including, but not limited to any claims that may be
      brought by Quantasy against Subcontractor.

      Contractor shall be responsible for fully indemnifying and holding harmless Subcontractor from
      any and all such claims, including covering Subcontractor's legal fees, costs, and/or any settlement
      payments or judgments that may require money to be paid by Subcontractor.

   7. Limitation of Liability
      EXCEPT FOR LIABILITY ARISING FROM A PARTY'S INDEMNIFICATION
      OBLIGATIONS, UNDER NO CIRCUMSTANCES AND UNDER NO LEGAL THEORY,
      WHETHER IN TORT, CONTRACT, OR OTHERWISE, SHALL EITHER PARTY BE LIABLE
      TO THE OTHER PARTY FOR ANY INDIRECT, SPECIAL, INCIDENTAL,
      CONSEQUENTIAL OR PUNITIVE DAMAGES OF ANY CHARACTER, INCLUDING,
      WITHOUT LIMITATION, DAMAGES FOR LOSS OF GOODWILL, LOST PROFITS, LOST
      SALES OR BUSINESS, WORK STOPPAGE, COMPUTER FAILURE OR MALFUNCTION,
      LOST DATA, OR FOR ANY AND ALL OTHER DAMAGES OR LOSSES, EVEN IF A
      REPRESENTATIVE OF A PARTY HAS BEEN ADVISED, KNEW OR SHOULD HAVE
      KNOWN OF THE POSSIBILITY OF SUCH DAMAGES. EXCEPT FOR LIABILITY ARISING
      FROM A PARTY'S INDEMNIFICATION OBLIGATIONS, NEITHER PARTY SHALL BE
      LIABLE TO THE OTHER PARTY FOR ANY DIRECT DAMAGES, COSTS, OR LIABILITIES

  8. Amendments
      Any amendments to this Agreement must be in writing and signed by Contractor and
      Subcontractor.

  9. Notices
      Any notice shall be deemed given on the day of certified mailing or, if notice is by e-mail, on the
      next day following the day notice is e-mailed:

      To:
      Root Insurance, LLC




      To:
      Collateral Damage, LLC




  10. Governing Law
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 82 of 84 PAGEID #: 401


      This Agreement shall be interpreted in accordance with the laws of the State of California without
      regard to its principles of conflicts of laws. Jurisdiction and venue shall be solely within the State of
      California.

   11. No Presumption Against Drafter

      Each of the parties has jointly participated in the negotiation and drafting of this Agreement. In the
      event of an ambiguity or a question of intent or interpretation arises, this Agreement shall be
      construed as if drafted jointly by each of the parties and no presumptions or burdens of proof shall
      arise favoring any party by virtue of the authorship of any of the provisions of this Agreement.


   12. Advice of Counsel

      In entering into this Agreement, each party has relied upon the advice of counsel, or has
      been advised, and has had reasonable time and opportunity, to consult counsel of its own
      choosing. Each party has completely read, fully understands, and voluntarily accepts the
      terms of this Agreement.

   13. Cumulative Rights and Remedies

      The rights and remedies provided for in this Agreement shall be cumulative; resort to one
      right or remedy shall not preclude resort to another or to any other right or remedy
      provided for by law or in equity.

   14. Counterparts

      This Agreement can be executed in counterparts, and each counterpart, when executed,
      shall have the effectiveness of a signed original. Photocopies of such signed counterparts
      may be used in lieu of the originals for any purpose.

   15. Enforceability Representation

      Each party to this Agreement represents that this Agreement constitutes the legally valid
      and binding obligation of that party, enforceable against that party in accordance with its
      terms, except as may be limited by bankruptcy, insolvency, reorganization, moratorium or
      similar laws relating to or affecting creditors' rights generally (including, without
      limitation, fraudulent conveyance laws) and by general principles of equity, including
      without limitation, concepts of materiality, reasonableness, good faith and fair dealing and
      the possible unavailability of specific performance or injunctive relief, regardless of
      whether considered in a proceeding in equity or at law.
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 83 of 84 PAGEID #: 402

                                                                                  CD(
 IN WITNESS WHEREOF, Contractor and Subcontractor have executed this Agreement.

 CONTRACTOR,

 Root Insurance, LLC:
        ,k •        -•
                           -•
 By: .- ` -..z e" .  . • .#1.•

                     BC Silver
 Name.

 Title:               CMO



 SUBCONTRACTOR,

 Collateral Damage, LLC:

 By:       1 (24.144...4, 4._zr.otigto6

 Name:             Lauren Lanski

 Title:               Officer
Case: 2:23-cv-00512-SDM-EPD Doc #: 21-2 Filed: 02/14/23 Page: 84 of 84 PAGEID #: 403


                                    Schedule 1: Scope of Work and Fees
                                                                         C)(
 Description

 A-List Pro Athlete Partnership: CD will negotiate,
 secure and integrate athlete marketing
 partnership with A-list pro athlete Russell Wilson
 or pro athlete of similar stature (i.e. NFL, NHL,
 MLB, Nascar) and regard, Athlete will participate
 in content, social media posting and
 appearances including promotion of In-market
 activations in Colorado during Q2/Q3 2022.

 Sports Influencers: CD will negotiate, secure and
 integrate up to ten but no less than six (6.10)
 athlete/influencer endorsements for Root Sports
 Influencer Marketing program. Athletes will
 participate In core campaign activations Including
 online and In-market appearances

 Sports Teams and Venue Partnership
 Activations: CD will negotiate, secure and
 integrate sports partnerships (i.e. NFL, NHL,
 MLB, Nascar) with sports teams and venues to
 activate against Root Insurance campaign
 creative.

Strategy and Implementation Support: CD will
provide strategy and execution to integrate sport
marketing programs across campaign elements
including Best Driver in America Challenge, In-

Market activations and integrations.
Total                                                 $9,100,000.00
